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                                                                                                                            3
                                                                       1                        I N D E X
                                                                  1

       1               UNITED STATES DISTRICT COURT
                                                                       2
                       SOUTHERN DISTRICT OF FLORIDA
       2                                                               3   EXAMINATIONS                              PAGE
                                 MIAMI DIVISION
       3
                        CASE NO. 19-cv-20583-Gayles
                                                                       4   FRANCISCO DE CASO, PH.D.
       4
                         AT LAW AND IN ADMIRALTY                       5   DIRECT EXAMINATION                           5
       5

       6   CHRISTINE KESSLER, a resident
                                                                       6
           of the State of Pennsylvania,
       7                                                               7
                    Plaintiff,
       8                                                               8
           vs.
       9
           NCL (BAHAMAS) LTD, a Bermuda                                9
      10   company, d/b/a, NORWEGIAN
           CRUISE LINE,                                               10
      11
                    Defendant.
      12   ______________________________/                            11
      13                                                              12
                                       Foreman Friedman, P.A.
      14                               One Biscayne Tower
                                       Suite 2300                     13
      15                               2 South Biscayne Boulevard
                                       Miami, Florida 33131           14
      16                               Friday November 1, 2019
                                       12:13 p.m. - 4:38 p.m.
      17
                                                                      15
      18                                                              16
      19
                                                                      17
      20           DEPOSITION OF FRANCISCO DE CASO, PH.D
                                                                      18
      21

      22            Stenographically taken before
                                                                      19
      23    RHONDA BONNER, RPR, FPR, Notary Public in and             20
      24    for the State of Florida at Large, pursuant to            21
      25    Re-Notice of Taking Deposition Duces Tecum.
                                                                      22
                                                                      23
                                                                      24
                                                                      25
                                                              2                                                             4
  1   APPEARANCES:                                                     1                     E X H I B I T S
  2                                                                    2
           PHILIP M. GERSON, ESQUIRE                                   3   FOR IDENTIFICATION         DESCRIPTION               PAGE
                                                                       4   Exhibit 1   Subpoena                    6
  3        GERSON & SCHWARTZ, P.A.
                                                                       5   Exhibit 2   Retainer Agreement          8
           1980 CORAL WAY                                              6   Exhibit 3   Expert Report              18
  4        MIAMI, FLORIDA 33145                                        7   Exhibit 4   Breathalyzer Test Result   26
           ngerson@gslawusa.com                                        8   Exhibit 5   Still photograph of        48
  5        ON BEHALF OF THE PLAINTIFF.                                               Ms. Kessler
                                                                       9
  6                                                                        Exhibit 6       "American National           76
                                                                      10                Standard Test Method for
  7        MICHAEL C. GORDON, ESQUIRE                                                   Measuring Dynamic
                                                                      11                Coefficient of Friction
           FRANK CARRASCO, ESQUIRE
                                                                                        Hard Surface Flooring
  8        FOREMAN FRIEDMAN, P.A.                                     12                Materials."
           2 SOUTH BISCAYNE BOULEVARD
  9        MIAMI, FLORIDA                                             13   Exhibit 5A      Duplicate of Exhibit 5       91
           mgordon@fflegal.com
 10        ON BEHALF OF THE DEFENDANT.                                14   Exhibit 7        Photographs contained in    93
                                                                                        link provided by
 11                                                                   15                Mr. Gerson's office

                                                                      16   Exhibit 8      Dr. Schwartz Medical          123
 12
                                                                                        Record, January 12, 2017
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 13                                                                        Exhibit 9       De Caso's Invoices           185
 14                                                                   18
 15                                                                        Exhibit 10      De Caso's Notes              186
 16                                                                   19
 17                                                                        Exhibit 11      CCTV on Thumb Drive          187
 18                                                                   20
 19                                                                        Exhibit 12      Exhibit 1 to Mr. Naik's      188
 20                                                                   21                deposition
 21
                                                                      22
 22                                                                        *Exhibits 10 & 11 to be provided by the witness to
 23                                                                   23   Mr. Gerson
 24                                                                   24
 25                                                                   25
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                                                   5                                                          7
  1   THEREUPON:                                             1              MR. GORDON:     When did you send it?
  2            THE COURT REPORTER: Raise your right          2              MR. GERSON:     Today.
  3        hand, please.                                     3              MR. GORDON:     When?
  4            Do you swear the testimony you're             4              MR. GERSON:     Probably just a few
  5        about to give is the truth, the whole             5          minutes ago.
  6            truth, and nothing but the truth, so help     6                 MR. CARRASCO: I haven't got anything.
  7            you God?                                      7                 MR. GORDON: I haven't got it either.
  8                 THE WITNESS: I do.                       8   BY MR. GORDON:
  9   THEREUPON:                                             9           Q. Who retained you in this case, sir?
 10                 FRANCISCO DE CASO, PH.D.                10           A. Can you repeat?
 11   was called as a witness by the Defendant and, after   11           Q. Who retained you in this case?
 12   having been first duly sworn, was examined and        12           A. In this case, it was Gerson law
 13   testified as follows:                                 13   office.
 14                    DIRECT EXAMINATION                   14           Q. And they represent Ms. Kessler in this
 15   BY MR. GORDON:                                        15   case; is that correct?
 16            Q. Good afternoon.                           16           A. That's correct.
 17                 Can you please state your full name     17           Q. When were you retained in this case?
 18   for us.                                               18           A. I can't recall the exact date.
 19            A. Francisco Jose De Caso Basalo, D-E,       19           Q. Okay. Is there something you can
 20   space, C-A-S-O, space, B-A-S-A-L-O.                   20   review to tell us when you were specifically
 21            Q. How are you employed, sir?                21   retained in this case?
 22            A. Pardon me?                                22           A. Yes. I can tell you right now. It
 23            Q. How are you employed? Where do you        23   was -- it's part of the electronic case documents.
 24   work?                                                 24   The agreement, consultant agreement. And if you
 25            A. At the University of Miami.               25   give me 30 seconds.
                                                   6                                                          8
  1           Q. What's your position?                       1            Q. Sure.
  2           A. Principal scientist.                        2            A. That would have been August 1st, 2019.
  3           Q. Do you have any other employment other      3            Q. Is there a formal retainer agreement
  4   than that?                                             4   signed?
  5           A. As an independent expert. That's all.       5            A. Yes.
  6           Q. What's your occupation?                     6            Q. Can we please marked that as
  7           A. I'm a principal scientist, engineer by      7   Exhibit 1, and then I guess at some point we'll --
  8   trade -- structural material science.                  8            A. Exhibit 2, I assume.
  9           Q. What's your business address?               9            Q. Sorry. Exhibit 2. You're correct.
 10           A. 5804 Leonardo Street, Coral Gables,        10                 And we'll figure out how to get these
 11   Florida 33146.                                        11   to the court reporter after the deposition.
 12                (Exhibit 1 was marked for                12                (Exhibit 2 was marked for
 13           identification purposes.)                     13            identification purposes.)
 14                MR. GORDON: I'm having the subpoena      14   BY MR. GORDON:
 15           marked as Exhibit 1.                          15            Q. What were you specifically asked to do
 16   BY MR. GORDON:                                        16   in this case, sir?
 17           Q. Sir, I'm showing you what we've marked     17            A. To perform an inspection and provide
 18   as Exhibit 1. It's a subpoena for today's             18   opinions related to the plaintiff's incident.
 19   deposition.                                           19            Q. Is there anything that you have
 20                Have you brought with you all of the     20   reviewed that is not contained in your electronic
 21   items that was requested in the subpoena?             21   file which you brought with you today?
 22           A. I have them electronically.                22            A. Yeah.
 23           Q. You don't have anything on your --         23            Q. Other than the ship inspection,
 24                MR. GERSON: We sent you a link with      24   obviously.
 25           the -- with access to everything so that --   25            A. All the case documents and additional
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                                                           9                                                            11
  1   documents, photographs, is all contained within the       1   versus MS Cruises. Sara Bostic versus Royal
  2   case file.                                                2   Caribbean Cruises.
  3           Q.    Have you been retained by the Gerson        3                 Is there any other case in the last
  4   Schwartz law firm in any other matters other than         4   four years in which you've given testimony?
  5   this one?                                                 5            A.   To my knowledge, that sounds about
  6           A.    I have not.                                 6   right.
  7           Q.    What percent of your income is derived      7            Q.   Did you ever give testimony in a case
  8   as serving as an expert witness in litigation             8   called Marshall?
  9   related matters?                                          9            A.   Marshall?
 10           A.    I'd say maybe about 20 percent.            10            Q.   Yes.
 11           Q.    And of the cases in which you're           11            A.   I would need to recall my files.
 12   retained for litigation related matters, what            12                 Do you know who was the opposite --
 13   percent of those cases are on behalf of the              13            Q.   Marshall versus Royal Caribbean
 14   plaintiff as opposed to the defendant?                   14   Cruises.
 15           A.    Probably a couple out of 30.               15                 Spencer Aronfeld was the attorney for
 16           Q.    I'm sorry?                                 16   Marshall.
 17           A.    Two out of the 30, I said.                 17            A.   Was this maybe 2006?
 18           Q.    Two out of 30 being what?                  18            Q.   I think it's around 2016-17.
 19           A.    Cases where I've been retained.            19                 MR. GERSON: The question is whether
 20           Q.    Okay. I'm not sure I understand.           20            you gave testimony, not whether you
 21                 You do --                                  21            consulted or you know about the case.
 22           A.    Percentage wise --                         22                 Did you give testimony?
 23           Q.    Yes.                                       23                 THE WITNESS: I can't recall right
 24           A.    -- 5 percent.                              24            now. I can't recall to my best knowledge
 25           Q.    5 percent being the plaintiff or           25            at this moment.
                                                          10                                                            12
  1   defense?                                                  1   BY MR. GORDON:
  2           A.    For the defendant.                          2            Q.   Have any of your opinions in any case
  3           Q.    Okay. 95 percent for the plaintiff?         3   ever been excluded by a court?
  4           A.    For the plaintiff, correct.                 4            A.   They have not, to my best knowledge.
  5           Q.    Okay. Have you provided a prior             5            Q.   Are you aware of any of your opinions
  6   testimony list, I believe, with your CV, which was        6   being excluded in the Marshall versus
  7   submitted to us in this case?                             7   Royal Caribbean matter?
  8           A.    That's my understanding, together with      8            A.   Not to my knowledge.
  9   the report.                                               9            Q.   Well, you state not to your knowledge.
 10                 THE COURT REPORTER: I'm sorry. Speak 10         Do you know for a fact one way or the other if they
 11           up.                                              11   have been excluded or were excluded?
 12                 MR. GERSON: Yeah. We need to speak         12            A.   As I said, not to my knowledge.
 13           up on the question side, too.                    13            Q.   Okay. How about Padula versus
 14   BY MR. GORDON:                                           14   Carnival Corporation, were any of your opinions
 15           Q.    I'll just read you the cases and you       15   excluded or limited in that case?
 16   can tell me if these are correct or if there's           16            A.   Not to my knowledge.
 17   anything that has to be added. Okay?                     17            Q.   Okay. If they were, would you have
 18           A.    Cases of what?                             18   any reason to dispute that?
 19           Q.    Where you've given testimony.              19            A.   I would need to check with the law
 20           A.    Okay.                                      20   firm that hired me and follow up.
 21           Q.    Aurelia Smith versus Carnival              21            Q.   You're not a naval architect; is that
 22   Corporation. Donna Padula versus Carnival                22   correct?
 23   Corporation. Soo Ko versus MSC Cruises.                  23            A.   That's correct.
 24   Judith Sololow versus Latin House Grill.                 24            Q.   You're not a naval engineer; is that
 25   Diane Williford versus Carnival. Susan Goldstein         25   correct?
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                                                13                                                           15
  1           A. That's correct.                            1            Q. You're not a toxicologist; correct?
  2           Q. You're not an accident                     2            A. That's correct, I'm not a
  3   reconstructionist; is that correct?                   3   toxicologist.
  4           A. Define what an "accident                   4            Q. You don't hold any degrees in human
  5   reconstructionist" skills are required.               5   factors; correct?
  6           Q. Do you have any specialized training       6            A. No.
  7   in accident reconstruction?                           7            Q. You're not a human factors expert;
  8           A. Within the engineering skills that are     8   correct?
  9   required that involve that process, in parts, yes.    9            A. I'm not a human factors expert, no.
 10           Q. Okay. Have you ever given testimony       10            Q. You've never worked for a cruise line;
 11   as an expert in accident reconstruction?             11   is that correct?
 12           A. I have not.                               12            A. I have not.
 13           Q. Do you hold yourself out as an            13            Q. You've never been employed by a cruise
 14   accident reconstructionist?                          14   line; correct?
 15           A. I beg your pardon? Can you repeat?        15            A. Only for one case, yes.
 16           Q. Do you hold yourself out as an            16            Q. As an expert?
 17   accident reconstructionist?                          17            A. Yes.
 18           A. Depending on the type of accident and     18            Q. In what capacity?
 19   the figure mode to be investigated, that would be    19            A. As an expert witness.
 20   the case, yes.                                       20            Q. But you've never actually been
 21           Q. What types of accidents do you think      21   employed by a cruise line other than that; correct?
 22   you're an expert accident reconstructionist in?      22            A. That's correct.
 23           A. Structural based accidents or             23            Q. You've never been a crew member on a
 24   incidents involving material failure.                24   cruise ship; correct?
 25           Q. Such as building collapses?               25            A. That's correct.
                                                   14                                                        16
  1           A. Or element or any structure that has       1            Q. You've never been employed by a cruise
  2   materials involved in it.                             2   line in the capacity as someone like an executive
  3           Q. Right. That for some reason failed;        3   housekeeper; correct?
  4   correct?                                              4            A. I have not.
  5                MR. GERSON: Form.                        5            Q. Or any in any capacity as a cleaner or
  6                THE WITNESS: Or whatever the             6   utility person; correct?
  7           deficiency or issue might be.                 7            A. I have not.
  8   BY MR. GORDON:                                        8            Q. Do you have any personal experience as
  9           Q. But that's not the same as                 9   a janitor?
 10   reconstructing an accident; correct?                 10            A. Can you elaborate?
 11           A. Well, you can reconstruct it based on     11            Q. You know what janitors are; correct?
 12   the failure mode, yes.                               12            A. I understand, yes.
 13           Q. And to be clear, you've never given       13            Q. Do you know what cleaning companies
 14   opinions in a court of law about that; correct?      14   are?
 15           A. As you asked before, I did not, yes.      15            A. I understand what cleaning companies
 16           Q. You're not a biomechanical engineer;      16   are, yes.
 17   correct?                                             17            Q. Have you ever been employed by a
 18           A. I am not.                                 18   cleaning company?
 19           Q. Not a biomedical engineer; correct?       19            A. I have not been employed by a cleaning
 20           A. I'm not.                                  20   company, no.
 21           Q. You're not a medical doctor; correct?     21            Q. Have you been employed by a janitorial
 22           A. I'm not a medical doctor.                 22   company?
 23           Q. You have no formal medical education.     23            A. I have not been employed by a
 24   Would that be correct?                               24   janitorial company, no.
 25           A. That's correct.                           25            Q. Have you ever worked in a job that
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                                                 17                                                        19
  1   required the use of a squeegee?                         1   BY MR. GORDON:
  2            A. I would say, yes.                           2            Q. Dr. De Caso, I marked as Exhibit 3 --
  3            Q. What?                                       3            A. Thank you.
  4            A. Just in the lab where I work.               4            Q. -- your expert report; is that it?
  5            Q. What did you squeegee in your lab?          5            A. That's correct.
  6            A. The surface.                                6            Q. Does page 5 of your report list the
  7            Q. Of what?                                    7   materials you have reviewed in this case?
  8            A. Of the concrete floor.                      8            A. That would be correct.
  9            Q. For what purpose?                           9            Q. You referenced that you reviewed CCTV
 10            A. To remove whatever substance was on        10   footage from two angles; is that accurate?
 11   it.                                                    11            A. That's correct.
 12            Q. And that would be on occasion;             12            Q. Did you review the entirety of the
 13   correct?                                               13   CCTV footage in this case?
 14            A. Depending when the testing is needed,      14            A. The portion that was available -- that
 15   yes.                                                   15   was made available to me, yes.
 16            Q. You weren't squeegeeing the floors on      16            Q. When you say "that was made
 17   the lab everyday, were you?                            17   available," what does that mean?
 18            A. I was not, no.                             18            A. It was, like, four minutes, or
 19            Q. You weren't doing that -- strike that.     19   something like that.
 20                 You weren't squeegeeing floors to        20            Q. Okay. So the totality of the CCTV was
 21   clean or dry them in your capacity?                    21   four minutes that you were provided?
 22            A. Can you rephrase?                          22            A. To my best recollection, yes.
 23            Q. I'll rephrase the question.                23            Q. As you sit here today, you don't know
 24                 You've never had a job where your only   24   if that is the entirety of the CCTV footage that
 25   responsibility was to clean floors using a             25   was made available to the plaintiff in this case,
                                                     18                                                          20
  1   squeegee; would that be correct?                        1   do you?
  2            A. That would be accurate.                     2            A. To my understanding, that was what was
  3            Q. You used a squeegee incidental to your      3   available -- made available to me.
  4   responsibilities as an engineer?                        4            Q. The question is, you don't know if
  5            A. That would be correct.                      5   that's the totality of the CCTV in existence;
  6            Q. Have you ever designed a cruise ship?       6   correct?
  7            A. I have not.                                 7            A. I wouldn't know, yes.
  8            Q. Have you ever designed any part of a        8            Q. You would not know?
  9   cruise ship?                                            9            A. That's correct.
 10            A. I have not.                                10            Q. Do you have any sort of timestamp that
 11            Q. Have you ever designed any type of         11   would indicate the time of the footage that you
 12   maritime vessel?                                       12   were provided which you reviewed in this case?
 13            A. I have not.                                13            A. I wouldn't have it available now, no.
 14            Q. Have you ever designed any part of a       14   But if I were to review the footage, I would -- I
 15   maritime vessel?                                       15   would need to open the footage and view it.
 16            A. I have not.                                16            Q. Let me ask it this way.
 17            Q. You generated a report in this case;       17                 Do you have the CCTV footage with you
 18   is that correct?                                       18   today?
 19            A. That would be correct.                     19            A. I don't have it with me today.
 20            Q. We just got the link from the              20            Q. You were asked to bring your entire
 21   plaintiff's attorney's firm. But in the interest       21   file; correct?
 22   of saving time, I've got a copy, we can mark that      22            A. Which was made electronically
 23   as 3.                                                  23   available, yes.
 24                 (Exhibit 3 was marked for                24            Q. Okay. You said you have your file
 25            identification purposes.)                     25   electronically in front of you.
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                                               21                                                            23
  1           A. Not all of it. I've got part of it.         1   yes.
  2   The report and part of the case documents to help      2            Q. Did you review the entirety of
  3   me throughout the deposition. All the files were       3   Ms. Kessler's deposition or just portions of it?
  4   made through a link.                                   4            A. I went through it. I reviewed all of
  5           Q. As you sit here today, can you tell me      5   it, but not in detail.
  6   what part of the CCTV footage you reviewed?            6            Q. Let me back up.
  7           A. As I said, it was a couple minutes          7                 You were provided with certain
  8   before the incident and several seconds after the      8   deposition transcripts; am I correct?
  9   incident.                                              9            A. That's correct.
 10           Q. Can you give me specifics in terms of      10            Q. And they're listed on page 5 of your
 11   time?                                                 11   report; yes?
 12           A. I can't. To my best recollection, I        12            A. That is correct.
 13   can't recall at this moment.                          13            Q. Were you provided with the total or --
 14           Q. You would agree that the CCTV has          14   strike that.
 15   timestamps on it; correct?                            15                 Were you provided with the entirety of
 16           A. I would agree. As I said, if those         16   each transcript or just certain portions of the
 17   are made available, I would review them and I would   17   testimony?
 18   be able to recall.                                    18            A. The entirety of the transcript.
 19           Q. As you sit here today, can you tell me     19            Q. Okay. For each one?
 20   what the timestamps are in terms of the CCTV you      20            A. That's correct.
 21   reviewed in this case?                                21            Q. So as far as the deposition of
 22           A. Since I don't have it in front of me,      22   Ms. Kessler, did you review the entire transcript?
 23   I cannot.                                             23            A. Yes.
 24           Q. Have you reviewed any video footage of     24            Q. Okay. I thought you just said you
 25   Ms. Kessler, other than what's depicted in the        25   reviewed parts of it. Maybe I misunderstood.
                                                     22                                                        24
  1   CCTV?                                                  1            A. I reviewed all of it, yes.
  2           A. I have not.                                 2            Q. Okay. And did you review the entirety
  3           Q. Have you ever spoken to Ms. Kessler         3   of the other depositions referenced on page 5 of
  4   ever?                                                  4   your report?
  5           A. I have not.                                 5            A. That's correct.
  6           Q. Have you ever met with her in person?       6            Q. Okay. Did you take notes when you
  7           A. I have not.                                 7   reviewed the depositions?
  8           Q. Am I correct that you have not              8            A. Yes.
  9   reviewed any medical records pertaining to             9            Q. Do you have the notes with you?
 10   Ms. Kessler?                                          10            A. The notes were transferred onto the
 11           A. That's correct.                            11   report, summarized as within the report.
 12           Q. Did you ever review Ms. Kessler's          12            Q. Right.
 13   Social Security Administration disability file?       13                 But did you actually --
 14           A. No.                                        14            A. Annotate the document?
 15           Q. Did you ever listen to the audio           15                 No, I did not.
 16   testimony from Ms. Kessler's Social Security          16            Q. Okay. So if you reviewed
 17   disability hearing in Pennsylvania?                   17   Ms. Kessler's deposition transcript, you're aware
 18           A. I did not.                                 18   that she testified that she had been involved in
 19           Q. Are you aware that Ms. Kessler was         19   prior fall accidents; correct?
 20   declared to be totally and permanently disabled by    20            A. That's correct.
 21   Social Security prior to the subject incident on      21            Q. All right. Did you review the alcohol
 22   the BREAKAWAY?                                        22   breathalyzer test results involving Ms. Kessler?
 23           A. I was not.                                 23            A. Yes, I did.
 24           Q. Did you read her deposition?               24            Q. Where is that referenced on page 5?
 25           A. She mentioned it in the deposition,        25            A. I think it was provided as part of
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                                                  25                                                             27
  1   exhibits on the depositions.                           1           witness and the questioner are reading from
  2            Q. Okay. Were you ever provided with the      2           the document that has been marked.
  3   additional breathalyzer reports that were produced     3   BY MR. GORDON:
  4   in this case?                                          4           Q. She was given a second test at 22:31
  5            A. If they were provided as exhibits,         5   and 9 seconds, and it was read at .051; correct?
  6   that's what I reviewed.                                6           A. Based on the Exhibit 4 presented in
  7            Q. So you reviewed whatever was attached      7   front of me, yes, that's what can be inferred.
  8   to Ms. Kessler's deposition as an exhibit?             8           Q. Well, it's not inferred. It's what it
  9            A. Right.                                     9   says. Correct?
 10                 And one of them was a breathalyzer      10           A. Based on the document that's in front
 11   report, yes.                                          11   me, yes.
 12            Q. Okay. So you would agree that             12           Q. Correct.
 13   Ms. Kessler's breathalyzer test result was .056 at    13                Have you reviewed the report of NCL's
 14   10:14 p.m. on the date of the incident?               14   expert toxicologist, Dr. Forney?
 15                 MR. GERSON: I object to the form of     15           A. I did not.
 16            the question. He can't agree or disagree.    16           Q. Did you take any photographs during
 17            He's not a toxicologist.                     17   your ship inspection?
 18                 MR. GORDON: Counsel --                  18           A. I did.
 19                 MR. GERSON: You're just way off the     19           Q. How many did you take?
 20            mark.                                        20           A. Several.
 21                 Why are you doing this? Ask him about   21           Q. Well, was there a number?
 22            his expertise and his inspections.           22           A. Yes --
 23                 MR. GORDON: Excuse me. Please don't     23           Q. How many?
 24            do that again.                               24           A. -- there was a number.
 25                 MR. GERSON: Don't tell me what to do.   25           Q. How many?
                                                  26                                                        28
  1   BY MR. GORDON:                                         1           A. I can't recall right now.
  2           Q. You reviewed it; correct?                   2           Q. Is it on your computer in front you?
  3           A. If it was an exhibit provided, I            3           A. Yeah.
  4   reviewed it.                                           4           Q. I'll move on. We're going to get the
  5           Q. So you've reviewed it, and you're           5   link printed.
  6   aware, are you not, that she blew a .056 at            6                So did you take any video during your
  7   10:14 p.m. on the date of the incident?                7   inspection?
  8                MR. GERSON: Object to the form.           8           A. I did.
  9                THE WITNESS: I can't recall the exact     9           Q. Okay. And is that contained in your
 10           details since I don't have that document in   10   electronic file?
 11           front of me.                                  11           A. Yes.
 12                (Exhibit 4 was marked for                12           Q. And did you --
 13           identification purposes.)                     13           A. The video is a summary of the
 14   BY MR. GORDON:                                        14   pictures, basically.
 15           Q. Let me show you what is marked as          15                MR. CARRASCO: I don't think there's
 16   Exhibit 4.                                            16           videos in the file.
 17                And you reviewed the breathalyzer test   17                MR. GERSON: You only respond to his
 18   result marked as Exhibit 4?                           18           questions and ignore the cross-talk.
 19           A. Yes.                                       19                Are you identified on the record?
 20           Q. And you can see it's .056 at 22:14 and     20                MR. CARRASCO: Yes.
 21   32 seconds?                                           21                MR. GERSON: Tell me your name.
 22           A. That's correct.                            22                MR. CARRASCO: Frank Carrasco.
 23           Q. That's 10:14 p.m.; correct?                23                MR. GERSON: Frank?
 24           A. That's correct.                            24                MR. CARRASCO: Yeah. Nice to meet
 25                MR. GERSON: For the record, the          25           you.
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                                               29                                                             31
  1   BY MR. GORDON:                                         1   camera. So that would have been the -- I would
  2           Q. You took video during the inspection?       2   need to -- do you have an internet connection?
  3           A. So the camera automatically stitches        3   Because I'm unable to access because of that.
  4   photographs created in order to put them as a          4                MR. GORDON: Off the record.
  5   video. So that was the video that was generated.       5                (Thereupon, a discussion was held
  6           Q. Okay. To your knowledge, was that           6           off the record.)
  7   video transmitted to us on this link?                  7   BY MR. GORDON:
  8           A. Probably not, since the photographs         8           Q. Back on.
  9   are provided as a PDF file.                            9                Have you reviewed any design drawings
 10           Q. So the video was not provided to us?       10   for the Norwegian BREAKAWAY?
 11           A. The stitched photographs is                11           A. Sorry. Answering your previous
 12   automatically generated by the camera, creating a     12   question, I do still have those video files.
 13   video. It was probably not included.                  13           Q. Okay. Just so we're clear on the
 14           Q. Is there a reason why not?                 14   record, the video files you referenced, you do have
 15           A. Because the photographs were provided      15   them?
 16   as individual PDF -- in a PDF file.                   16           A. Yes, I do. They were not deleted.
 17           Q. Okay. Does the video exist in some         17           Q. Did you look at some sort of website?
 18   sort of video format?                                 18   What are you looking at to give me that answer?
 19           A. If it's still in the camera, yes.          19           A. It's the online file that I have.
 20   It's a very heavy file, so that's why I don't         20           Q. Okay.
 21   include it.                                           21           A. With the shared pictures -- with the
 22           Q. But it exists; correct?                    22   shared files.
 23           A. If it's still in the camera, yes.          23           Q. We would ask that you send those to
 24           Q. Why wouldn't it be in the camera?          24   Mr. Gerson's office and he can transmit those to
 25           A. So the photographs, the individual         25   us.
                                                    30                                                        32
  1   photographs that are taken, are automatically          1           A. Yes.
  2   stitched in a video. That video was not taken by       2           Q. Did you review any design drawings for
  3   me, as I mentioned. It was automatically generated     3   the Norwegian BREAKAWAY?
  4   by the camera.                                         4           A. There was some plans provided as part
  5                So in answering your question, did I      5   of the case documents, yes.
  6   take any video, the answer would be no. It was         6           Q. What plans?
  7   automatically generated by the camera.                 7           A. Plans of the area of the spa.
  8           Q. Okay. And has that been deleted, what       8           Q. Is that a schematic or architectural
  9   you just described?                                    9   or design drawings?
 10           A. It might have, yes.                        10           A. Well, they're not detailed from an
 11           Q. Okay. Was that deleted intentionally       11   architectural point of view.
 12   or inadvertently, or did it do it automatically?      12           Q. Right.
 13           A. It's inadvertently because it remains      13           A. They're not a schematic either. So
 14   in the SD card of the camera. So it -- it will        14   generic plans of the area showing the different
 15   probably format the videos after transferring all     15   spaces, some of the light positions, and other MEP
 16   the -- sorry. I format the SD card after using the    16   features. I would assume these are MEP plans.
 17   card.                                                 17           Q. You're an architect; correct?
 18           Q. Okay. Do you have any audio                18                MR. GERSON: Object to the form.
 19   recordings that you did during the ship inspection?   19                THE WITNESS: I am not an architect.
 20           A. Not to my knowledge.                       20   BY MR. GORDON:
 21           Q. Did you not speak into some sort of        21           Q. You're not an architect?
 22   device during your inspection?                        22           A. I'm not an architect, no.
 23           A. In the phone, then, maybe. Yes.            23           Q. What's your occupation?
 24           Q. Does that still exist?                     24           A. I'm a principal scientist. I'm a
 25           A. So -- I think that might have been the     25   civil and structural engineer. I'm a material
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                                                           33                                                            35
  1   scientist.                                                 1   August 25, 2019?
  2           Q.    You know what sealed architectural           2           A.    I have not.
  3   drawings are; correct?                                     3           Q.    You state on page 7 of your report the
  4           A.    Yes. These were not sealed                   4   average air temperature was 77 degrees Fahrenheit;
  5   architectural drawings.                                    5   isn't that correct?
  6           Q.    You know what sealed engineering             6           A.    That's correct.
  7   drawings are; correct?                                     7           Q.    How did you come to the calculation?
  8           A.    I'm familiar with those, yes.                8           A.    From a thermometer.
  9           Q.    Have you reviewed any sealed                 9           Q.    You had a thermometer on you?
 10   architectural or engineering drawings for the             10           A.    At the time of the inspection, yes.
 11   Norwegian BREAKAWAY?                                      11           Q.    How many times did you take a reading
 12           A.    I have not.                                 12   of the air temperature when you were at the
 13           Q.    And specifically with respect to the        13   inspection?
 14   Mandara Spa.                                              14           A.    It's the average of -- throughout the
 15           A.    I have not.                                 15   entire inspection.
 16           Q.    Do you have whatever it is you              16           Q.    Right.
 17   testified to that you did review in terms of a            17                 But I mean, did you -- strike that.
 18   drawing of the spa?                                       18                 Did you take notes of the air
 19           A.    I could try to find it.                     19   temperature calculations you obtained that day?
 20           Q.    Okay.                                       20           A.    No. The device automatically records
 21           A.    Would you like me to?                       21   them at a frequency of, I think, one per minute and
 22           Q.    Yes, sir.                                   22   then provides the average maximum and minimum for
 23                 Who designed the Norwegian BREAKAWAY? 23         the given period of time.
 24           A.    I'm unaware of that.                        24           Q.    So is it on a timer? How does that
 25           Q.    Who designed the Mandara Spa in the         25   work?
                                                           34                                                            36
  1   Norwegian BREAKAWAY?                                       1           A.    You press the button, and then you let
  2           A.    I'm unaware of that information.             2   it record.
  3           Q.    Okay. What day did you inspect the           3           Q.    Okay. So at some point -- strike
  4   Mandara Spa on the Norweigian BREAKAWAY in this            4   that.
  5   case?                                                      5                 How often are you checking the machine
  6           A.    Sorry. Can you repeat that?                  6   to see the temperature?
  7           Q.    Yeah.                                        7           A.    It will collect the data and then
  8                 What day did you inspect the Mandara         8   provide the average automatically.
  9   Spa on the Norwegian BREAKAWAY in this case?               9           Q.    At what point did it provide you with
 10           A.    That was --                                 10   the average temperature?
 11                 MR. GERSON: You can consult your file       11           A.    Throughout -- it's the average
 12           or your report or any of the marked               12   temperature from the beginning of inspection until
 13           exhibits.                                         13   the end of inspection.
 14                 THE WITNESS: Of course. It was on           14           Q.    Is that captured somewhere?
 15           Sunday, August 25th, 2019.                        15           A.    In the report.
 16   BY MR. GORDON:                                            16           Q.    Well, what I just read on page 7?
 17           Q.    All right. What time did you inspect        17           A.    Uh-huh.
 18   the vessel?                                               18           Q.    Yes?
 19           A.    Approximately, 9:00 a.m.                    19           A.    Yes.
 20           Q.    Until when?                                 20           Q.    But is there an actual reading of
 21           A.    10:30.                                      21   instrument you can point to and show me?
 22           Q.    Had you ever been on the Norwegian          22           A.    The instrument that I had at the time.
 23   BREAKAWAY prior to August 25, 2019?                       23           Q.    Okay. Do you have a photograph of it?
 24           A.    I have not.                                 24           A.    I do not, no.
 25           Q.    Have you been on it subsequent to           25           Q.    Okay. So other than what's stated on
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                                               37                                                          39
   1   page 7 of your report --                              1           A. It's a partial. It's cut off.
   2            A. Yes.                                      2           Q. Hold on one second. There's a Bates
   3            Q. -- can you point to me anything that      3   number. For the record, the witness -- hold on.
   4   supports -- strike that.                              4                For the record, the witness is showing
   5                Can you point to me anything that        5   Bates stamp 123.
   6   supports that the average air temperature is          6                Thanks. I appreciate it.
   7   77 degrees?                                           7                You would agree that the specific air
   8            A. The reading from the device.              8   temperature may impact evaporation of water;
   9            Q. Okay. Can you show me any specific        9   correct?
  10   photographs or printed data from that device?        10           A. I would agree.
  11            A. The notes during the inspection.         11           Q. You also made reference in your
  12            Q. Your notes?                              12   report -- I believe it's on page 13 -- regarding
  13            A. Correct.                                 13   the surface temperature.
  14            Q. Okay. Other than that?                   14           A. Yes.
  15            A. No.                                      15           Q. So when you say "surface temperature,"
  16            Q. You are aware, are you not, from         16   what are you referring to?
  17   reviewing the testimony of the Norwegian crew        17           A. The surface temperature of the floor
  18   members that the thermal spa in the Mandara Spa --   18   where the tests were conducted.
  19   strike that.                                         19           Q. Okay. And that's -- strike that.
  20                You're aware from reviewing the         20                You tested where you believe
  21   testimony of the Norwegian crew members that the     21   Ms. Kessler fell; correct?
  22   area where Ms. Kessler fell was heated; correct?     22           A. I tested where I indicated the
  23            A. That's my understanding.                 23   location as marked in the report, yes.
  24            Q. Okay. What is the temperature of the     24           Q. Right.
  25   area in the spa when it is heated?                   25                It is locations 10 through 14; right?
                                                       38                                                       40
   1            A. I'm not aware what the specifications     1           A. That would be correct.
   2   are. It will depend on people that are around, the    2           Q. And it gives a corresponding surface
   3   temperature of the pool, the operation, many other    3   temperature?
   4   factors of the specific temperature. I don't know.    4           A. That's correct.
   5            Q. So, as you sit here, you don't know if    5           Q. How did you measure the surface
   6   the average air temperature was 77 degrees at the     6   temperature?
   7   time of Ms. Kessler's fall; correct?                  7           A. Through a laser based document, a
   8            A. That's correct.                           8   noncontact instrument.
   9            Q. And you don't know what the average       9           Q. An instrument?
  10   air temperature was at the time of Ms. Kessler's     10           A. Yes, an instrument, a noncontact
  11   fall; correct?                                       11   instrument. You basically shoot at the surface in
  12            A. That's correct.                          12   order to determine its temperature.
  13            Q. You don't know what the air              13           Q. Okay. And do you have any printouts
  14   temperature was at the time of Ms. Kessler's fall;   14   from those readings?
  15   correct?                                             15           A. Again, they would be on the notes.
  16            A. That's correct.                          16           Q. Your notes?
  17                If you want to go back to the deck      17           A. That's correct, as I said before.
  18   plan -- I found it. It's part of the request, the    18           Q. Okay. Do you have any photographs of
  19   RFP docs that were provided.                         19   what the readings were as you took them that day?
  20            Q. Sure.                                    20           A. No.
  21                Do you have it in front you?            21           Q. Okay. Any video?
  22            A. It would be this one. It's page 37 of    22           A. No.
  23   44 on one of the case documents.                     23           Q. As you sit here today, you don't know
  24            Q. You can just turn it around. I just      24   if the surface temperatures, as indicated on
  25   want to see generally what you're referring to.      25   page 13 of your report, from locations 10 through
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                                                     41                                                          43
   1   14, were the same as they were at the time of          1   instrument you used to measure slip resistance in
   2   Ms. Kessler's fall; correct?                           2   this case?
   3           A. That's correct. Those are the               3           A. That's correct.
   4   temperatures at the time of the inspection.            4           Q. When did you become certified to use
   5           Q. All right. Did you take an average          5   the English XL?
   6   reading of the surface temperature or just a           6           A. I took a certification course in 2018,
   7   one-shot temperature reading?                          7   last year.
   8           A. You hold it for about 30 seconds and        8           Q. Do you know when specifically?
   9   the equipment gives you that average temperature       9           A. I think it was the summer. I don't
  10   during that period of time.                           10   remember the date.
  11           Q. Is it similar to what you described        11           Q. Summer of 2018?
  12   earlier about the air temperature?                    12           A. That's correct.
  13           A. No.                                        13           Q. Do you own your own English XL device?
  14           Q. How is it different?                       14           A. I do.
  15           A. Air temperature uses an average            15           Q. How long have you owned it for?
  16   throughout the period of time that was recording.     16           A. For a year and a half.
  17   This one was a solid surface instead of air           17           Q. When was the last time it had been
  18   temperature, and therefore you're interested on the   18   calibrated relative to August 25, 2019?
  19   specific temperature of that location. Solids         19           A. I think it's April 2019.
  20   don't vary in temperature as much as the air does.    20           Q. Who calibrated it?
  21   It's two different instruments.                       21           A. English XL.
  22           Q. You don't know what the surface            22           Q. How many times did you use the
  23   temperature was at the time of Ms. Kessler's fall;    23   instrument between April 2019, when it was last
  24   correct?                                              24   calibrated, up to August 25, 2019?
  25           A. You asked before, and I replied            25           A. I would not know at this time.
                                                     42                                                          44
   1   before, that's correct. I only know the                1           Q. Why not?
   2   temperatures at the time of the inspection.            2           A. Because I would need to go back and
   3           Q. What type of instrument did you use to      3   review the number of times. From the top of my
   4   test the slip resistance of the floor?                 4   head, I can't remember.
   5           A. It was a variable incident tribometer       5           Q. When was the test foot on your
   6   English XL.                                            6   English XL last changed relative to August 25,
   7           Q. Why did you use that instrument?            7   2019?
   8           A. That instrument mimics closely the          8           A. Can you be more specific when you say
   9   biomechanics of a person striking the floor with       9   "changed"?
  10   the heel and therefore reproduces that motion in      10           Q. Yeah.
  11   order to understand the properties between the heel   11               You know there's a Neolite test foot
  12   striking the surface and the surface.                 12   on the machine; correct?
  13           Q. You're aware there are other               13           A. I'm aware of that, yes.
  14   instruments that measure slip resistance; correct?    14           Q. Is that the original test foot that
  15           A. There are other devices that do            15   came with the instrument when you bought it?
  16   measure slip resistance. Yes, I'm aware.              16           A. That's correct.
  17           Q. Why did you use the English XL versus      17           Q. You've never changed it?
  18   other instruments to do your testing in this case?    18           A. It gets reconditioned; right? Before
  19           A. I just mentioned, it mimics the            19   each test you recondition the surface so it meets
  20   biomechanics of a person striking the floor with      20   the requirements.
  21   the heel.                                             21           Q. You test it with a test tile; correct?
  22           Q. But there are other instruments that       22           A. Yes. Or whatever other surface you're
  23   can be used to measure slip resistance; correct?      23   striking against.
  24           A. As I answered before, yes.                 24           Q. Let me just back up.
  25           Q. Okay. Is the English XL the only           25               The test foot on your XL --
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                                                45                                                         47
   1            A. Yes.                                       1   different.
   2            Q. -- is it the original test foot?           2           Q. All right.
   3            A. That came with the device, yes.            3           A. As stated in the report.
   4            Q. Do you have any documentation              4           Q. How did you determine where to do your
   5   regarding when the machine was calibrated by the       5   test location, sir?
   6   manufacturer?                                          6           A. By cross-referencing the CCTV footage
   7            A. Yes.                                       7   with -- and the exhibits provided in the
   8            Q. Okay. Did you sand the machine before      8   depositions with the location that I selected.
   9   using it on August 25th?                               9           Q. Which exhibits specifically are you
  10            A. The machine or the test foot?             10   referencing?
  11            Q. The test foot.                            11           A. There's snapshots of those CCTV
  12            A. The test foot was conditioned             12   footage in the -- what do you call that? -- Naik
  13   according to the manufacturer, as stated in the       13   exhibit.
  14   report.                                               14                 MR. CARRASCO: N-A-I-K.
  15            Q. How did you -- did you use sandpaper?     15                 THE WITNESS: Yeah. Thank you.
  16            A. A specific sandpaper and a fixture in     16                 The Tellez depo. There were some
  17   order to insure homogeneousness.                      17           stills there as well. And the CCTV itself.
  18            Q. How old was the sandpaper that you        18   BY MR. GORDON:
  19   used to sand the test foot?                           19           Q. So am I correct that you tried to
  20            A. I don't know when it was manufactured,    20   determine where Ms. Kessler slipped by referring to
  21   the sandpaper.                                        21   the CCTV and various photographs of the area?
  22            Q. Well, was it the original sandpaper       22           A. Correct. Still photographs of the
  23   you had, or was it replaced?                          23   area and from that CCTV.
  24            A. No. It was replaced.                      24           Q. What about this still photo that was
  25            Q. Do you know when?                         25   marked as an exhibit to Ms. Kessler's deposition?
                                                      46                                                         48
   1            A. I don't recall.                            1           A. That's correct.
   2            Q. Do you know how many passengers and        2                 (Exhibit 5 was marked for
   3   crew members the Norwegian BREAKAWAY holds?            3           identification purposes.)
   4            A. Based on the public available              4   BY MR. GORDON:
   5   information, I think it's a total of 3,963             5           Q. I will mark the still of Ms. Kessler
   6   passengers and a complement of crew 1,657, as          6   as Exhibit 5 to your deposition.
   7   stated on page 6 of the report.                        7                 Is there one document in particular
   8            Q. Do you know how many people walked         8   you looked at to determine where she slipped, or
   9   over the same surface area where you did your test     9   you just looked at all of them to try to make that
  10   in between Ms. Kessler's incident and the date of     10   determination?
  11   your testing?                                         11           A. That's correct.
  12            A. I do not know.                            12           Q. Which? Everything?
  13            Q. You would agree that a floor surface      13           A. The combination of photos.
  14   can change over time; correct?                        14           Q. Which foot of Ms. Kessler slipped
  15            A. Depending on the floor surface, yes.      15   first?
  16   That might be the case.                               16           A. The left foot slipped first.
  17            Q. That would be true with respect to the    17           Q. And looking at your report, you
  18   floor surface where Ms. Kessler fell; correct?        18   believe that test location 10 is the area where
  19            A. That would be correct, yes.               19   Ms. Kessler's left foot first slipped?
  20            Q. As you sit here today, you don't know     20           A. Between 11 and 12, yes.
  21   if the floor surface where Ms. Kessler fell was in    21           Q. Well, is it between 11 and 12, or is
  22   the same exact condition at the time of your          22   it number 10, specifically?
  23   testing as it was at the time of the fall; correct?   23           A. Number 10 would be the test location.
  24            A. That's correct. I wouldn't know if        24           Q. Just so I'm clear, is it your opinion
  25   it's the same. In fact, it might have been            25   that Ms. Kessler's left foot specifically slipped
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                                                    49                                                     51
   1   at location number 10?                                1   location 11 and 12?
   2            A. In that area, yes.                        2           A. In order to provide a comparison of
   3            Q. Okay. So you don't know if it's           3   and provide an average and a sampling of the floor.
   4   specifically exactly where you have the number 10     4           Q. Okay. But why those two specific
   5   in your report?                                       5   locations?
   6            A. Correct.                                  6           A. Because those are adjacent to the
   7            Q. That's correct?                           7   neighborhood where she slipped.
   8            A. Yes.                                      8           Q. Is there any industry literature that
   9            Q. Okay. I mean, you can't tell with         9   states that's the area where you should have
  10   certainty that her foot slipped exactly where you    10   tested?
  11   tested at number 10; correct?                        11           A. There are many different, what we
  12            A. That's correct. That's what I'm          12   call, sampling particles when we're deciding to
  13   trying to infer.                                     13   test and how many tests to conduct and how to
  14            Q. Okay. What time did Ms. Kessler fall?    14   conduct them. So it's general research best
  15            A. Can you show me that exhibit again,      15   practices.
  16   please.                                              16           Q. Okay. What specifically are you
  17            Q. Exhibit 5?                               17   referring to?
  18            A. Yes, please.                             18           A. In terms of?
  19                 Based on the exhibit, it would be --   19           Q. Yeah. I'm just trying to find out if
  20   the time indicating on the lower part of Exhibit 5   20   there's any authoritative literature that states
  21   is 3:53 p.m. local time, I'm assuming.               21   that what you just described is the proper manner
  22            Q. Do you know if that's real time or       22   of determining test locations.
  23   ship time?                                           23           A. So there's literature out there based
  24            A. As I said, it's what's available in      24   on research best practices that relate to sampling.
  25   front of me. I wouldn't know if it's ship time or    25   And when you need to determine how many samples to
                                                    50                                                     52
   1   any other standard time.                              1   get on given type of test, then you can follow
   2           Q. Okay. Well, did you review                 2   those. There's a lot of literature out there.
   3   Ms. Kessler's written statement provided to           3           Q. Can you name me one specifically with
   4   Norwegian where she said she slipped at about         4   respect to the testing that you did in this case?
   5   4:30 p.m.?                                            5           A. Not now, no.
   6           A. The complaint, yes -- I mean, the          6           Q. Okay. How about number 14, test
   7   report, yes.                                          7   location 14, how did you determine to test that
   8                 At the end. I think it was four --      8   specific location?
   9   4:45, she reported, something like that.              9           A. That's a control reference. That is
  10           Q. But she also said that she fell at        10   in the middle of the access way to the spa. And
  11   around 4:30 p.m.; correct?                           11   it's meant to provide a control reference.
  12           A. Yes.                                      12           Q. Again, is there any specific
  13           Q. So on page 6 of your report, where you    13   authoritative literature that you can point to to
  14   say that this incident occurred just before          14   tell me that's where you should have tested it?
  15   4:00 p.m. UTC, you're referring to the CCTV still.   15           A. Again, there's plenty of literature
  16   Would that be accurate?                              16   available in order to make sure that you also
  17           A. That would be accurate.                   17   provide a control test.
  18           Q. All right. So you talked about test       18           Q. Can you name me one specifically?
  19   location 10.                                         19           A. I can't at this time.
  20                 Can you tell me how you determined     20           Q. And how many polls did you do for each
  21   your other test locations.                           21   of the locations?
  22           A. The other test locations are meant to     22           A. Can you repeat that? I didn't hear
  23   be representative for comparison purposes adjacent   23   you.
  24   to that strip where she was walking and slipped.     24           Q. How many times did you test each test
  25           Q. So why did you determine to test at       25   location?
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                                                     53                                                        55
   1           A. Each test location was tested in four     1            A. The videos and the -- sorry. The
   2   orthogonal directions; northeast, southwest,         2   stills that came from the CCTV, as well as the
   3   front-back, side-side.                               3   supporting deposition of the crew members at the
   4           Q. What type of substance did you put on     4   time.
   5   the floor when you did your wet testing?             5            Q. Okay. You reviewed the CCTV; right?
   6           A. Water available from the vessel,          6            A. Yes.
   7   regular tap water.                                   7            Q. Or at least certain portions of it;
   8           Q. Okay. The crew members made that          8   correct?
   9   available to you?                                    9            A. That's correct.
  10           A. Yes. Actually, I took it from the        10            Q. Is there anything that you've looked
  11   restroom.                                           11   at to give us more information as to what
  12           Q. Did you apply any other substance on     12   specifically you reviewed?
  13   the floor other than the tap water?                 13                MR. GERSON: Object to the form.
  14           A. I did not.                               14            Asked and answered.
  15           Q. And the average result was what?         15                THE WITNESS: Yes. So in the Tellez
  16           A. That would be provided in Table 1 of     16            deposition, Exhibit 1, also shows how a
  17   the report.                                         17            crew member is placing squeegeed water in
  18           Q. Okay. What was the average test when     18            the area that was tested.
  19   it was wet?                                         19   BY MR. GORDON:
  20           A. For which location?                      20            Q. The CCTV footage of the incident that
  21           Q. Well, I'm on page 13. It looks like      21   you were provided to review, did you see any water
  22   you did an overall average; correct?                22   in the area where Ms. Kessler fell before she fell?
  23           A. That was reported in the report, yes.    23            A. It's not possible to tell clearly due
  24           Q. That was .57?                            24   to the contrast --
  25           A. That's correct.                          25            Q. Okay.
                                                     54                                                        56
   1           Q. Did you test the area dry?                1            A. -- with certainty.
   2           A. I did not.                                2            Q. Okay. So you don't -- strike that.
   3           Q. Is there a reason why not?                3                You can't tell us for certain that you
   4           A. Since the incident was provided in        4   actually observed water on the floor at the time
   5   the -- the incident occurred with a wet floor        5   Ms. Kessler fell. Would that be a true statement?
   6   surface, this was comparing it to the conditions     6                MR. GERSON: Object to the form.
   7   during the incident.                                 7                THE WITNESS: If I can rephrase the
   8           Q. Okay. You'll agree that the               8            statement, it would be that a crew member
   9   literature states you should also test it dry;       9            can be seen squeegeeing water on the
  10   correct?                                            10            surface to that location.
  11           A. If needed, yes, based on what you want   11   BY MR. GORDON:
  12   to obtain.                                          12            Q. My question is, the CCTV that you
  13           Q. Okay. Well, you would agree it would     13   reviewed --
  14   be relevant to know how the floor tests dry to      14            A. Yes.
  15   compare it to how it tests wet; would it not?       15            Q. You reviewed it, right?
  16           A. Not for the case.                        16            A. As I said before, yes.
  17           Q. Why not?                                 17            Q. You gave opinions in your report about
  18           A. Because the floor conditions were wet    18   Ms. Kessler's gait before the incident; correct?
  19   at the time of the incident.                        19            A. That's correct.
  20           Q. And why do you say the floor             20            Q. Which we'll get to.
  21   conditions were wet at the time of the incident?    21                You see a still of Ms. Kessler; right?
  22           A. Based on the exhibits, as well as the    22            A. Yes.
  23   depositions provided as part of the case            23            Q. Exhibit 5.
  24   documentation.                                      24                And you reviewed the video of her
  25           Q. What exhibits are you referring to?      25   coming into the spa area; correct?
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                                                 57                                                         59
   1           A. That's correct.                             1            she mentioned, yes.
   2           Q. Okay. Did you see any water on the          2   BY MR. GORDON:
   3   floor in the area right before Ms. Kessler fell?       3            Q. And Ms. Kessler testified at her
   4           A. I saw water being deposited in that         4   deposition that she didn't see any substance on the
   5   area before by crew members.                           5   floor before she fell; true?
   6           Q. Did you actually see the water on the       6                 MR. GERSON: Object to the form.
   7   floor with your own eyes?                              7                 THE WITNESS: To my best recollection,
   8           A. Since I wasn't there, I'm not able to       8            that's the case, yes.
   9   say that I did.                                        9   BY MR. GORDON:
  10           Q. Okay. But of the video evidence that       10            Q. And she didn't see any substance on
  11   you've been provided, specifically looking at         11   the floor after she fell; correct?
  12   Exhibit 5, do you see any water on the floor where    12                 MR. GERSON: Object to the form.
  13   she fell?                                             13                 THE WITNESS: That's correct.
  14           A. Again, on the quality of the printed       14   BY MR. GORDON:
  15   document, it's not possible to tell.                  15            Q. Okay.
  16           Q. Well, do you see any water on              16            A. I do remember that she said that she
  17   Exhibit 5?                                            17   felt it was wet after she fell.
  18                MR. GERSON: Objection. Asked and         18            Q. And she didn't know where it came
  19           answered.                                     19   from; correct?
  20                Please move on.                          20            A. That's true, yes.
  21   BY MR. GORDON:                                        21            Q. And you reviewed the deposition
  22           Q. Go ahead.                                  22   testimony of Michael Collantes?
  23           A. Once again, on the Exhibit 5 that is       23            A. Yes.
  24   provided, it's seems a little cracked and bent on     24            Q. Jemalyn Lenoso?
  25   the bottom part, and the top right corner is          25            A. Yes.
                                                    58                                                          60
   1   curled. And based on the quality, it's not             1            Q. Okay. And your understanding is,
   2   possible to infer if there's water.                    2   those were the two crew members responsible for
   3           Q. We'll get a better copy of the              3   maintaining the area; correct?
   4   photograph.                                            4            A. At the time of Ms. Kessler's incident,
   5                MR. GORDON: Can you please get me         5   yes.
   6           one:                                           6            Q. And both of those crew members
   7                THE WITNESS: Thank you.                   7   testified the area was dry; correct?
   8   BY MR. GORDON:                                         8                 MR. GERSON: Object to the form.
   9           Q. You'll agree that Ms. Kessler               9                 THE WITNESS: I'm not sure if they
  10   testified that she did not see any water on the       10            said explicitly the area where she fell was
  11   floor before she fell; correct?                       11            dry, but the area where they were working,
  12           A. To my best recollection, I remember        12            they were drying the surface.
  13   she stating something along those lines, yes.         13   BY MR. GORDON:
  14           Q. Well, that's what she testified to;        14            Q. Okay.
  15   correct?                                              15            A. Can you point me to the specific area
  16           A. I don't remember verbatim that's the       16   in the -- that you're referring to in the
  17   case, but yes. I remember she testified that she      17   deposition of those crew members, please?
  18   did not see any water on the surface.                 18            Q. Well, you're testifying today that the
  19           Q. And she didn't see any water on the        19   crew members testified the area was wet.
  20   floor after she fell; correct?                        20                 So can you tell me where they said it
  21           A. Again --                                   21   was wet --
  22                MR. GERSON: Object to the form.          22                 MR. GERSON: Object to the form.
  23                You may answer.                          23   BY MR. GORDON:
  24                THE WITNESS: Thank you.                  24            Q. -- in the area where she fell?
  25                From my best recollection, that's what   25            A. Yeah. Give me a moment. I can pull
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                                                61                                                         63
   1   out the --                                             1            A. That's correct, yes.
   2            Q. Sure.                                      2            Q. Did you ever take the footage and do
   3            A. I'm reviewing -- rereviewing the           3   any sort of forensic examination to see if you
   4   document for Collantes. I don't recall him stating     4   could observe any water in the area right before
   5   that the floor was dry. Just on the methods used       5   she fell in the location where she fell?
   6   in order to dry the floor and how he was               6            A. By officially reviewing the CCTV and
   7   squeegeeing the area to dry the floor.                 7   the different contrasts, I was trying to determine
   8            Q. Okay. You don't recall him testifying      8   if there was water explicitly there.
   9   it was dry?                                            9                 But due to the quality of the CCTV
  10            A. With those words, no.                     10   that I was provided and the lighting conditions,
  11            Q. Look at page 90, he said it's dry.        11   it's not possible with a degree -- with a high
  12   Page 92, he said it's dry.                            12   degree of certainty.
  13                 MR. GERSON: Object to the form.         13            Q. Okay. But did you attempt to do any
  14                 You may answer.                         14   sort of forensic examination to assist you in that
  15                 THE WITNESS: I' scrolling to the        15   regard?
  16            page.                                        16            A. I think I just answered that by
  17   BY MR. GORDON:                                        17   reviewing it visually.
  18            Q. Okay.                                     18            Q. You personally reviewed it?
  19            A. "It's already -- no, I'm squeegeeing,     19            A. Right.
  20   but it's already dry."                                20            Q. Did you send it to somebody else, like
  21                 That would be page 90, line 3.          21   an outside vendor, to do any sort of in-depth
  22            Q. Right.                                    22   analysis?
  23                 And page 89, "Question: Okay. So you    23            A. I did not.
  24   now have the squeegee on the ground at 3:47;          24            Q. You cite various articles in your
  25   correct"?                                             25   report that you believe are authoritative; correct?
                                                      62                                                        64
   1            A. Right.                                     1                 MR. GERSON: Object to the form.
   2            Q. "Yeah. But the floor is not wet.           2                 THE WITNESS: That I believe are
   3   It's not wet. It's dried, the floor, already."         3            relevant to the matter being discussed,
   4            A. I understand that.                         4            yes.
   5                 We're referring to the area              5   BY MR. GORDON:
   6   immediately where Ms. Kessler fell; right?             6            Q. Well, you believe they're
   7            Q. Correct.                                   7   authoritative; right?
   8            A. That was the question.                     8                 MR. GERSON: Object to the form again.
   9            Q. My question to you is, can you point       9                 THE WITNESS: I think they bring
  10   to me to any testimony where someone testified that   10            relevance to the matter being discussed,
  11   the floor where Ms. Kessler fell was wet right        11            yes.
  12   before she fell?                                      12   BY MR. GORDON:
  13                 MR. GERSON: Objection. Asked and        13            Q. Well, would you site articles that
  14            answered.                                    14   aren't authoritative?
  15                 THE WITNESS: To my best recollection    15                 MR. GERSON: Object to form, again.
  16            right now, I can't.                          16                 THE WITNESS: Can you define
  17   BY MR. GORDON:                                        17            authoritative?
  18            Q. Okay. Did you ever take the CCTV          18   BY MR. GORDON:
  19   footage you were provided by Ms. Kessler's            19            Q. Well, you're the expert; right?
  20   attorneys and do any sort of forensic examination     20            A. I think so, yes.
  21   of the footage to see if you can see any water on     21            Q. And you provided and cited in your
  22   the floor where she fell?                             22   report various articles; correct?
  23            A. Can you repeat, please?                   23            A. That is correct.
  24            Q. Okay. You received certain CCTV           24            Q. And the reason you did that is because
  25   footage; correct?                                     25   you believe they support your opinions; correct?
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                                                65                                                              67
   1           A. As I said, yes.                             1           Q. All right. And you make reference to
   2           Q. Therefore, you believe they would be        2   ASTM F-1166; is that accurate?
   3   authoritative articles; correct?                       3           A. As well as other references, yes.
   4           A. I think they would provide valuable         4           Q. Okay. Well, that's one of the ones --
   5   background to the case being discussed, yes.           5   that is the reference you make to determine that
   6           Q. Otherwise you wouldn't have cited           6   the floor purportedly did meet appropriate slip
   7   them; correct?                                         7   resistance; is it not?
   8           A. Correct.                                    8           A. To the recommendations provided by
   9           Q. You reference and cite in your report       9   that standard practice, yes.
  10   an article entitled, "Slip and Fall Accident          10           Q. That's really the only one that you're
  11   Prevention, A Review of Research, Practice and        11   relying on for that statement; correct -- or that
  12   Regulations," written by Lee-Jean Lin, Fu-Tien        12   opinion; right?
  13   Chiou, and H. Harvey Cohen; correct?                  13           A. That would be incorrect.
  14           A. Yes.                                       14           Q. That's incorrect?
  15           Q. And you'll agree that on page 210 it       15           A. Yes.
  16   references that a static coefficient of friction of   16           Q. Is there any other literature that
  17   .5 would be considered a reasonably safe              17   you're referencing or reference that says the
  18   measurement for slip resistance; correct?             18   minimum slip resistance should be .6?
  19           A. For that specific case under the           19           A. So the manufacturer for the tile does
  20   conditions that was reviewed that are non marine      20   provide a range, as it was specified. It varies
  21   based applications, yes.                              21   from .04 to .7 for R11 -- right? -- which is
  22           Q. We'll get there.                           22   supposedly -- so the manufacturer specifications in
  23                But .5, according to that article, was   23   terms of safety, as well. And the corresponding
  24   deemed to be sufficient; correct?                     24   DIN, which is the European standard for tile
  25           A. Again, it's an average, as it was          25   testing, also provides different ranges or
                                                      66                                                        68
   1   stated on the publication.                             1   R values.
   2           Q. Right.                                      2                And the reference in this case that
   3                You're aware of who William English       3   you are incorrect that I'm not citing is the
   4   is; correct?                                           4   DIN 55130 does provide that R values 13 and 12 for
   5           A. Yes.                                        5   wet or very wet areas should be used, which result
   6           Q. He invented the XL tribometer that you      6   in a higher coefficient variance that would be
   7   used?                                                  7   higher than .7.
   8           A. That's correct.                             8           Q. Okay. First of all, the tile
   9           Q. Are you familiar with his publication,      9   manufacturer you said had a range?
  10   "Pedestrian Slip Resistance, How to Measure It and    10           A. So the tile manufacturer, the
  11   How to Improve It, Second Edition"?                   11   specification that was provided as part of the
  12           A. Yes.                                       12   specifications, it was R11. And R11 varies, from
  13           Q. Published in 2003?                         13   my understanding, from .4 to .7, based on DIN,
  14           A. That's correct.                            14   D-I-N, the standard.
  15           Q. You would agree that's authoritative;      15           Q. Well, you say a range. So anything
  16   correct?                                              16   between .4 and a .7?
  17           A. I would agree with that, yes.              17           A. That would be a performance spec.
  18           Q. And he discusses that a measure of .5      18           Q. Is that specific to a wet surface?
  19   static coefficient of friction would be sufficient    19           A. That's specific not for wet or very
  20   in terms of wet testing; correct?                     20   wet areas. For wet or very wet areas, the
  21           A. He does state that, yes.                   21   recommendation is that you use R12 or R11 -- 13,
  22           Q. Sorry. I couldn't hear you.                22   pardon me.
  23           A. I recall that that's what he states.       23                So in terms of the reference that I'm
  24   I don't know exactly what page of the document --     24   providing, I'm providing the reference of the DIN
  25   of the book you're referring to, but yes.             25   standard for wet or very wet surfaces. Tile should
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                                                      69                                                    71
   1   meet an R12 or R13, which corresponds to higher        1   buy it and review it.
   2   coefficient of friction values.                        2           Q. Do you have it amongst the materials
   3            Q. How do you spell "DIN"?                    3   you have here today?
   4            A. D-I-N. Capital letters.                    4           A. Well, there's a copyright issue, so I
   5            Q. Is that the name of a person or?           5   cannot just photocopy the book and provide it.
   6            A. It's the Deutsch Institute of -- it's      6           Q. Well, do you personally have it?
   7   the German institute of standards, just like ASTM      7           A. I have an electronic version of it,
   8   for American, the DIN is for European.                 8   yes.
   9            Q. German Institute of Standards?             9           Q. Have you provided it with your
  10            A. It's translated to it. I don't know       10   materials?
  11   the -- my German is not that good, I should say.      11           A. No. It's a copyright issue. I cannot
  12            Q. Okay. And there's nothing you can         12   provide it.
  13   point to that says that that DIN standard is          13                 Just like you looked up the other
  14   applicable to a cruise ship, can you? Or this         14   references that you looked up. By providing a
  15   particular cruise ship, the BREAKAWAY?                15   reference and in order to not breach any copyright
  16            A. Well, that's -- the tile that they        16   issues, you have access to that information.
  17   used references that specification as part of the     17           Q. Can you show me exactly in writing
  18   case documents. So that was the material being        18   anything to support what you just said about the
  19   used in the incident location.                        19   DIN being applicable on this ship at the time of
  20            Q. Okay. My question is, is there            20   Ms. Kessler's fall?
  21   anything you can point to to show me that this DIN    21                 MR. GERSON: Object to the form.
  22   standard is allegedly applicable to a cruise ship?    22                 THE WITNESS: So to answer your
  23            A. It's applicable as it's stated to the     23           question, the DIN is applicable to the
  24   tile that was placed on that cruise ship. It          24           floor surface that was installed in the spa
  25   doesn't matter where the tile is placed. You can      25           area on that boat; and, therefore, the DIN
                                                      70                                                       72
   1   place it in the moon, as far as the DIN is             1           specifications are applicable because the
   2   concerned. The DIN doesn't look at the location of     2           tile is in the boat.
   3   the tile. It just looks at the surface itself.         3   BY MR. GORDON:
   4            Q. That's a German?                           4           Q. Okay. Who chose the tile that was put
   5            A. That is a German based standard, yes.      5   into the spa?
   6   Typically referred to as European. It's called the     6           A. I'm afraid I don't know that.
   7   ramp test, R-A-M-P.                                    7           Q. Do you know what the classification
   8            Q. Is there anything authoritative you        8   society is?
   9   can point to that says that that German standard       9           A. The classification society? There's
  10   would be applicable in this country?                  10   many type of classification societies.
  11            A. So a lot of the tile manufacturers use    11           Q. Have you done any research regarding
  12   it. It is an international recognized standard.       12   that in connection with this ship, BREAKAWAY?
  13   Many tile manufacturers use it as a specification     13           A. When you talk about classification
  14   standard.                                             14   societies, can you be more explicit?
  15            Q. Can you point me to any authoritative     15           Q. Yeah.
  16   literature supporting what you just said?             16                 After a ship is built, it gets
  17            A. Yes. If you look at the practical         17   inspected, does it not, by the appropriate
  18   handbook of Di Pilla, D-I, space, P-I-L-L-A, the      18   authorities?
  19   handbook discusses in depth all of the different      19           A. Okay. You're talking about the
  20   methodologies that there are to test coefficient of   20   overall ship, how the ship is classified.
  21   friction, as well as the applicability to the         21           Q. Yes.
  22   different type of things.                             22           A. There's materials classification.
  23            Q. Do you have that with you?                23   That's why I'm trying -- we're talking about tile
  24            A. I don't have the handbook with me, no.    24   and your ship. You're now jumping to the
  25   But you have the reference, and you're welcome to     25   classification of the overall ship; yes?
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                                                        73                                                   75
   1           Q. People inspect the ship before it gets      1   performance based spec.
   2   put into use; correct?                                 2                MR. GORDON: Okay.
   3           A. Yeah. The classification that you're        3                Want to take a two-minute break?
   4   referring to, if I'm incorrect, it's about the         4                THE WITNESS: We can continue.
   5   tonnage and the size; is that correct? Is that the     5                (Thereupon, a brief recess was
   6   type?                                                  6           taken @ 1:35 p.m.)
   7           Q. I'm asking you.                             7                (Proceedings were resumed @
   8           A. Since you are not stating the exact         8           1:43 p.m.)
   9   classification, I'm trying to understand what you      9   BY MR. GORDON:
  10   refer by "classification."                            10           Q. Dr. De Caso, is this the retainer
  11                 So is it the classification of the      11   agreement, just so we can get that marked?
  12   size of the boat based on tonnage, or is there        12           A. That's correct.
  13   another classification that you're referring to?      13           Q. All right. We can mark this as
  14           Q. I'm referring to the ship itself. It       14   Exhibit 2.
  15   gets inspected, does it not, before it sets sail?     15                You are familiar with what ANSI
  16                 MR. GERSON: Object to the form.         16   standards are; correct?
  17           Argumentative.                                17           A. Not all of them, but I understand.
  18   BY MR. GORDON:                                        18   I'm familiar with the organization that provides
  19           Q. By applicable authorities?                 19   those standards, yes.
  20           A. There's many different types of --         20           Q. American National Standards Institute.
  21   types of quality control and inspections of the       21   Are you familiar with that organization?
  22   overall ship in totality, yes.                        22           A. I'm familiar with them, yes.
  23           Q. Are you aware of anything anywhere         23           Q. It's similar to ASTM; correct?
  24   stating that it was inappropriate tile be put into    24           A. That's correct.
  25   the Norwegian BREAKAWAY in the Mandara Spa?           25           Q. Are you familiar with ANSI standard
                                                       74                                                           76
   1                 MR. GERSON: Object to the form.          1   A326.3-2017, which was released January 2018?
   2                 THE WITNESS: I don't have access to      2           A. That number, from the top of my head,
   3             those documents.                             3   I'm afraid I wouldn't be able to recall. But I
   4   BY MR. GORDON:                                         4   think I will soon find out.
   5             Q. So is the answer no?                      5                 (Exhibit 6 was marked for
   6             A. I don't know. The answer is I don't       6           identification purposes.)
   7   know.                                                  7   BY MR. GORDON:
   8             Q. All right. You will agree ASTM F-1166     8           Q. Well, it's entitled, "American
   9   does not mention whether the .6 is static or           9   National Standard Test Method for Measuring Dynamic
  10   dynamic coefficient of friction; correct?             10   Coefficient of Friction Hard Surface Flooring
  11             A. It talks about coefficient of            11   Materials."
  12   friction, yes.                                        12           A. Probably use the BOT, the binary
  13             Q. It doesn't specifically state whether    13   output tribometer, I'm assuming.
  14   it's static coefficient of friction or dynamic        14           Q. I'll show you a copy of it.
  15   coefficient of friction; right?                       15                 Are you familiar with this ANSI
  16             A. Correct. The standard just refers to     16   standard?
  17   COF, coefficient of friction, as defined in the       17           A. I'm familiar with this standard, yes.
  18   standard.                                             18           Q. You are?
  19             Q. Right.                                   19           A. I'm familiar. I'm not going to be
  20                 And there's a difference between the    20   able to recite it, if that's what you're going to
  21   two; correct?                                         21   ask. But I am familiar with it, yes.
  22             A. That is correct, yes.                    22           Q. That ANSI standard specifically
  23             Q. And F-1166 does not provide for a        23   discusses the test method for measuring the slip
  24   testing protocol; correct?                            24   resistance of hard surface flooring materials,
  25             A. That's correct. It only is a             25   which include tile; correct?
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                                                      77                                                          79
   1            A. Like using a BOT for short and using,      1            A.   Not any particular that I can think of
   2   if I recall correctly, SLS substance instead of        2   but...
   3   water.                                                 3                 It's a very generic question. If you
   4            Q. Okay. In any event, this ANSI              4   could maybe be more explicit, I'd appreciate it.
   5   standard deals with testing slip resistance for        5            Q. Well, you've already testified there's
   6   hard tile; correct?                                    6   more than just the English XL in terms of equipment
   7            A. Yes.                                       7   that can measure slip resistance; is that correct?
   8            Q. And this standard requires the use of      8            A. That's correct.
   9   the BOT-3000 machine; correct?                         9            Q. And the BOT-3000 is another type of
  10            A. Correct. The BOT.                         10   device; correct?
  11            Q. You did not use the BOT machine;          11            A. That's correct.
  12   correct?                                              12            Q. So you never used anything but the
  13            A. That's correct.                           13   English XL; correct?
  14                 As we discussed previously, the         14            A. For the case. I have used a BOT in
  15   English XL was the only device used to measure the    15   the past, yes.
  16   properties of the floor surface.                      16            Q. Okay.
  17            Q. Why did you not use the BOT-3000 in       17            A. Depending on the case and depending on
  18   addition to the English XL during your testing in     18   the circumstances, one device might be better than
  19   this case?                                            19   the other.
  20            A. As I mentioned previously, the            20            Q. So what, in your opinion, would be a
  21   English XL best mimics the biomechanics of the heel   21   circumstance where the BOT-3000 would be better to
  22   striking the surface and therefore provides for       22   be used?
  23   this case, a human slip case, a methodology in        23            A. For quality control purposes, if you
  24   which to determine the characteristics of the         24   want to assess and monitor a surface and how that
  25   floor.                                                25   surface changes with time or -- especially after
                                                      78                                                            80
   1            Q. But does the ANSI standard require the     1   applying a condition in order to it might change
   2   use of the BOT and not the English XL; correct?        2   the characteristics of that floor, it's a good
   3            A. This specific standard, Exhibit 6,         3   monitoring tool in order to explicitly address the
   4   talks about the dynamic coefficient of friction for    4   properties of that tile before and after.
   5   hard floor materials and it does reference the BOT,    5            Q. You would agree that walking is a
   6   which is a different device and therefore computes     6   dynamic event; correct?
   7   differently the COF.                                   7            A. In terms of the definition for dynamic
   8            Q. It also requires the use of a certain      8   coefficient of friction, walking can be classified
   9   solution when you do the testing with the BOT-3000;    9   as a dynamic event when you strike a heel with a
  10   correct?                                              10   floor. That would be correct.
  11            A. That is not water; correct. It's kind     11            Q. You strike a heel on the floor when
  12   of like a soapy material.                             12   you walk; correct?
  13            Q. Which you didn't do in your testing.      13            A. That's correct.
  14            A. Not in my testing. But I previously       14            Q. That's what Ms. Kessler was doing;
  15   used this equipment, so I'm very familiar with the    15   correct?
  16   process.                                              16            A. That would -- so there are nuisance.
  17            Q. Just to be clear, you just used tap       17   We can get technical. There is a nuisance. So
  18   water with nothing in it?                             18   let's get technical. So that coefficient of
  19            A. That's correct.                           19   friction -- just starting with a basic definition
  20            Q. Do you own a BOT-3000?                    20   of that -- is the ratio between horizontal force
  21            A. I do not.                                 21   and a vertical force. And that's the generic
  22            Q. Is there a reason why you did not --      22   definition.
  23   strike that.                                          23                 So the ASTM that you've been
  24                 Is there any reason why you don't own   24   mentioning before, F-116, talks about the ratio of
  25   a BOT-3000?                                           25   those forces. And those forces are static,
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                                                        81                                                    83
   1   meaning, let's assume you've got this cup of coffee      1            A. Correct. It says that any type of
   2   on the table and it's sitting on the coffee {sic},       2   coefficient of friction. In other words, the ratio
   3   the static coefficient of friction will be the           3   between those forces I was trying to explain
   4   force that would require the cup to start                4   before. And given that I'm the expert, maybe I can
   5   displacing and moving itself after applying, in          5   provide clarification on that on how standards are
   6   this case, a horizontal force.                           6   written.
   7                Dynamic coefficient of friction, on         7                  If you needed a specific type of
   8   the other hand, is, that as I -- this cup is             8   coefficient of friction, then it would explicitly
   9   approaching from my hand that I'm grabbing and I'm       9   state if it's static or dynamic. That's not the
  10   placing it as it moving on the table, it starts         10   case. So therefore any type of coefficient of
  11   already with a movement, and it would be the force      11   friction shall be greater than .6.
  12   of that moving object striking parallel to the          12            Q. Did you write the standard F-1666?
  13   other surface. And that's very important because        13            A. No. But I'm subscribed to the
  14   coefficient of friction basically is a force            14   committee, and I do listen and hear a lot of the
  15   perpendicular to the other.                             15   technical conversations that go on this
  16                And the BOT in this case, a heel           16   peer-reviewed committees.
  17   doesn't really strike perpendicular to it, you have     17            Q. You did not write the standard;
  18   a rotational motion, and therefore there's a            18   correct?
  19   nuisance of definition. So it's not really when         19            A. No. The standard is a peer-reviewed
  20   you walk a dynamic per se, because you're not           20   process that requires a collaborative approach.
  21   striking perfectly parallel to the surface.             21   Many people partake in the process. Also there's
  22           Q. Well --                                      22   public comment where you can provide opinions about
  23           A. I hope that helps.                           23   the writing for that.
  24           Q. -- in any event, you've already agreed       24            Q. Did you provide public comments?
  25   that the ASTM F-1166 does not make a distinction        25            A. No, since it was published some time
                                                        82                                                    84
   1   between static or dynamic coefficient of friction.       1   ago.
   2             A. That's correct.                             2            Q. You were referencing earlier about R11
   3             Q. Okay.                                       3   tile, the rating of the tile.
   4             A. It's the ratio of those forces.             4            A. I did, yes.
   5             Q. Okay.                                       5            Q. I believe you were saying that this
   6             A. In any case, it wouldn't matter if          6   specific tile in the spa is R11?
   7   it's static or dynamic. The whole point is that          7            A. That's what was provided based on the
   8   any type of striking between two surfaces should be      8   case documentation, yes.
   9   .6.                                                      9            Q. And you state in your report, "An R11
  10                  When you read the ASTM -- I don't know   10   value" -- I'm reading on page 18 -- "An R11 value
  11   if you had a chance to read it in detail -- that's      11   is known to be suitable for transitional areas that
  12   why you don't need to discriminate between forces       12   can occasionally become wet."
  13   because you to make sure that it's always above .6.     13                  Correct?
  14             Q. But it doesn't state whether it should     14            A. That's correct.
  15   be testing static coefficient of friction or            15            Q. You mentioned there's an R12? What
  16   dynamic coefficient of friction; correct?               16   was the other tile you referenced?
  17             A. Again, it says that the coefficient of     17            A. I didn't mention any other tile. I
  18   friction shall be .6 or greater when measured wet.      18   mentioned the specifications R12 and R13, which are
  19             Q. It doesn't say specifically if it's        19   those subsequent to R11 based on the DIN standard.
  20   static coefficient of friction or dynamic               20            Q. I'm sorry. Say that again.
  21   coefficient of friction.                                21            A. It's in the report. I'll go ahead and
  22                  MR. GERSON: Object to the form.          22   pull it out so we're all on the same page.
  23             Asked and answered three times now.           23            Q. Sure.
  24   BY MR. GORDON:                                          24            A. I mentioned that R11 is the
  25             Q. Correct?                                   25   specification provided by the tile. And that same
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                                                 85                                                              87
   1   specification standard, R12 and R13, is the            1   R12 and R13 are suitable for wet and very wet
   2   specification for tiles for wet or very wet            2   areas.
   3   surfaces.                                              3           A. R12 for wet and R13 for very wet.
   4            Q. Just so I understand, R11 is the tile      4           Q. And what's considered wet or very wet?
   5   specification for this specific tile in the spa;       5           A. Right. That's where an expert might
   6   correct?                                               6   come in. And if you consult the DIN definitions,
   7            A. Correct.                                   7   spa areas and pool areas lie within the R12 and R13
   8            Q. And is there another specification         8   ratings.
   9   called R12 and R13?                                    9           Q. Where specifically are you getting any
  10            A. That's within the same spec, meaning      10   support that the tile in the Mandara Spa should
  11   the DIN standard.                                     11   have been either rated R12 or R13?
  12                You have different types of ratings.     12                MR. GERSON: Object to the form.
  13   R for rating. The rating for this tile is R11.        13                THE WITNESS: Based on the definitions
  14   There are other ratings, 12 and 13.                   14           that DIN provides for the different
  15            Q. Okay. I'm just trying to understand       15           ratings, and the description and the
  16   what you're saying. That's all.                       16           definition for those ratings, a spa area
  17            A. I hope I'm clarifying that.               17           would not classify under an R11 tile
  18            Q. I think so.                               18           rating. It would be more suitable for an
  19                So is it your testimony that you         19           R12 or R13.
  20   believe that there should have been an R12 or R13     20   BY MR. GORDON:
  21   specification tile instead of R11?                    21           Q. Can you show me what you're referring
  22            A. Right.                                    22   to?
  23                Based on the DIN -- and I'm trying to    23           A. The DIN, the 511 standard.
  24   pull the report open. One second. The -- R12 is       24           Q. Do you have it in front of you?
  25   for wet or very wet surfaces. Since you have the      25           A. I don't. I don't have it. It's the
                                                        86                                                       88
   1   paper document, let me jump directly to that           1   51130 is the testing of coverings and within that
   2   section.                                               2   gives you the definitions for the different
   3                This is Exhibit 3. It's the report        3   ratings.
   4   that I issued.                                         4           Q. What I'm trying to find out is what's
   5                If I remember correctly, on page 18,      5   the definition for wet or very wet, as you state in
   6   in the Section 4.2, surface evaluation. "Surfaces      6   page 18 of your report.
   7   specified with a higher R value will" --               7           A. For wet and very wet, it is derived
   8            Q. Sorry. Where you reading from?             8   from the DIN, as I just mentioned. And if you read
   9            A. Yes.                                       9   those, it gives you examples. It's a lot of
  10                Section 4.2. And jumping directly to     10   literature that might give you what an R11 is and
  11   4.2.3. And I'm going to provide you two sections.     11   can be provided if it makes any use.
  12   So maybe I'll start with the previous one, 4.2.2.     12           Q. I'm asking if you know right now, as
  13                "R11 value is known to be suitable for   13   we sit here.
  14   transitional areas that can occasionally become       14           A. Again, I can't quote a -- I can quote
  15   wet," as you just stated.                             15   a specific test standard has definitions for those
  16            Q. And that's the tile that was in place.    16   different R values.
  17            A. That's correct.                           17           Q. Okay.
  18                In comparison, as I read from the        18           A. And the test standard itself provides
  19   report, "R values R12 and R13 are suitable for wet    19   additional references that will explicitly state
  20   and very wet areas, respectively."                    20   what classifies as a wet or very wet or
  21            Q. That's coming from where?                 21   transitional areas.
  22            A. From the DIN standard, which was used     22           Q. And you're saying that these are
  23   to classify the tile that was placed in the spa at    23   copyrighted or something?
  24   the Norwegian BREAKAWAY.                              24           A. So the document that I have is for my
  25            Q. So if I understand what you're saying,    25   personal use and I cannot distribute it. Those are
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                                                                 89                                                             91
   1   the conditions for which that standard is done.                 1   standards since I don't have it in front of me, the
   2            Since you have the reference, you can                  2   table of specific ranges that those tiles lie on.
   3   go to the DIN website and download it.                          3           Q.   Okay. Here, before I forget, I have
   4            Q.      In any event, as you sit here today,           4   printed a better copy of Exhibit 5. I would like
   5   can you tell me how wet or very wet is specifically             5   to mark it as Exhibit 5A.
   6   defined?                                                        6                (Exhibit 5A was marked for
   7            A.      It's defined as an R12 and R13 rating.         7           identification purposes.)
   8            Q.      I got that.                                    8   BY MR. GORDON:
   9                    But what do they mean by wet or very           9           Q.   I'm showing you, Dr. De Caso, 5A.
  10   wet, as opposed to occasionally can become wet?                10   Does that look like a better copy of the
  11            A.      So I don't have it in front me, as I          11   photograph?
  12   said. But if I were to reproduce the DIN standard              12           A.   It seems a little smaller, but that's
  13   and the references that it contains and -- it's a              13   okay. Yes.
  14   matter of definition.                                          14           Q.   Do you see any water on the floor in
  15            Q.      Exactly. I'm trying to find out what          15   5A in the area where Ms. Kessler fell?
  16   those definitions are.                                         16           A.   As part of the review of the CCTV,
  17            A.      You shall find them in the standard,          17   when looking at it, you can see that there's a
  18   if you look at them.                                           18   contrast in the area where she's stepping and
  19            Q.      I'm asking you now as the expert for          19   slipping. We're talking about this before. I
  20   the plaintiff.                                                 20   didn't sub to any individual -- sub the work,
  21            A.      Right.                                        21   subcontract the work.
  22                    So if I'm answering you, wet surface          22                But you can see, there's an area of
  23   can be a spa area, as example, in the Norwegian                23   contrast. And, in fact, you can even see how the
  24   BREAKAWAY can be considered as an R12. Pool areas 24                grout line between the tiles changes contrast, and
  25   are considered R13. Showers are considered R13.                25   it could be inferred that that's a wet area.
                                                                 90                                                             92
   1   Bathtubs are conditions R13.                                    1   Again, with a degree of -- not with a high degree
   2                    So you have an example list of                 2   of certainty, as I mentioned before.
   3   explicit areas. Lobbies, for instance, depending                3           Q.   You're just assuming it could be
   4   if they're covered or not covered, can also be                  4   water; correct?
   5   considered R12 or R13. So there's different                     5           A.   Well, after having inspected and
   6   definitions.                                                    6   making wet the area, and also seeing the change of
   7                    When you look at those definitions and         7   color grout when it becomes wet and seeing the
   8   you compare them with the spa area that you have,               8   water coming down the grout line, it is possible
   9   and I was able to physically inspect and be there,              9   that it could be wet from the CCTV footage.
  10   that would lie either as a R12 at minimum or most              10           Q.   Can you positively state with
  11   likely an R13.                                                 11   certainty that there was any water that you
  12            Q.      Are you saying that this tile rating          12   observed in the area where Ms. Kessler fell on the
  13   has a specific coefficient of friction requirement?            13   CCTV?
  14            A.      I'm saying that this is an R11 tile.          14                MR. GERSON: Object to the form.
  15            Q.      I got that part.                              15                THE WITNESS: Based on -- based on the
  16                    But is there anything from the DIN            16           CCTV, prior Exhibit 5A, and having seen
  17   standard that discusses what the acceptable slip               17           crew squeegeeing the surface, I'm assuming
  18   resistance should be for the R11, R12, or R13 tile?            18           they were squeegeeing it because it had
  19            A.      There's different ranges of                   19           water on that area. And placing it at the
  20   coefficient of friction for the different tiles.               20           location where she slipped, it is possible
  21            Q.      What are they?                                21           to infer that there could have been water,
  22            A.      Again, I can't recall the table from          22           with a low degree of certainty.
  23   the top of my head.                                            23                MR. GORDON: Move to strike the
  24            Q.      So you don't know, as you sit here?           24           answer.
  25            A.      I can't recall the -- I can't read the        25                           ///
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                                                   93                                                                 95
   1   BY MR. GORDON:                                          1                  So when I refer in Section 3.25 of the
   2           Q. I'm not asking you to infer. I'm             2   report, surface drainage slope refers to how the
   3   asking you, do know for a fact that you saw water       3   surface drains itself due to the natural slope.
   4   on the floor in the CCTV in the area where              4            Q. Okay. And it says, "To this end,
   5   Ms. Kessler fell?                                       5   water was deposited at location number 10 and 11."
   6                 MR. GERSON: Object to the form.           6                  Is this something different than when
   7                 THE WITNESS: It's not possible to         7   you did your slip resistance testing?
   8           tell that --                                    8            A. That would be the water that was
   9   BY MR. GORDON:                                          9   deposited there for what is being for the picture
  10           Q. Okay.                                       10   shown. And then there was other additional water
  11           A. -- if it's 100 percent water in that        11   deposited to test the drain.
  12   location.                                              12            Q. Right.
  13           Q. Let's do this. What are we on now?          13                  So is this referring to the part of
  14                 (Exhibit 7 was marked for                14   the inspection where you tested the drains or when
  15           identification purposes.)                      15   you tested -- in the slip resistance tested?
  16   BY MR. GORDON:                                         16            A. In this explicit case, the water
  17           Q. Dr. De Caso, what I'm doing now is I'm      17   deposited was the water deposited during the test.
  18   marking the photographs that were contained in the     18            Q. The slip resistance testing?
  19   link that was provided by Mr. Gerson's office.         19            A. That's correct.
  20                 Can you just confirm for me that these   20            Q. Okay.
  21   contain all the photographs you took during your       21            A. Yeah. We're on the same page.
  22   inspection, please.                                    22            Q. When you did the slip resistance
  23           A. I would assume that all the pictures        23   testing, how much water did you put on the surface?
  24   are contained within here. Yes. It looks about         24            A. I think it's about a seven-ounce
  25   right.                                                 25   bottle, if I remember correctly. So that would
                                                   94                                                               96
   1           Q. I'm sorry?                                   1   probably be half of that. So three and a half
   2           A. It looks about right.                        2   ounces.
   3           Q. Okay. Thank you.                             3            Q. You put three and a half ounces of tap
   4                On page 12 of your report, you make        4   water in the location?
   5   reference to drainage slope?                            5            A. Give or take.
   6           A. Drainage slope.                              6            Q. Is that consistent with all the test
   7           Q. Page 12, 3.25.                               7   locations?
   8           A. Yeah.                                        8            A. More or less, yes. There was only --
   9           Q. Are you with me?                             9   since the same tests were performed. However, as
  10           A. I'm with you.                               10   you do different tests, if you don't reach, you
  11           Q. What were you referring to as part of       11   know, the strike-off at the given time, maybe it
  12   your report?                                           12   would have been more water deposited so. So the
  13           A. I'm referring to that same section in       13   amount of water might vary specifically from test
  14   figure 12 of the report. And just as we were           14   to test.
  15   discussing before, Exhibit 5A, about is there water    15                Again, the intent of Figure 12 and the
  16   or not on that surface and how I was comparing the     16   comment -- the intent of Section 3.25, and to
  17   CCTV with the actual inspection and the contrast       17   answer your question, that paragraph explicitly
  18   changes of the floor surface, as well as the grout     18   tries to evaluate where the water would flow from
  19   line, and how the water slopes down. Down, because     19   that position onwards.
  20   it has to go down because gravity pulls it down.       20                And it was possible to tell, as it can
  21            So even though it may not feel like           21   been seen in Figure 12, that it was flowing away
  22   there's a slope on that floor surface, in fact,        22   from the drain and away across the spa entrance.
  23   there was, as the water was sloping away from the      23            Q. Did you measure the area from the door
  24   drainage and the tested area. And you can see also     24   that enters into the thermal spa area until the
  25   the contrast change of the grout line.                 25   location where Ms. Kessler fell?
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                                                        97                                                 99
   1           A. The door entry that's located -- if         1   you -- when the surface is being used.
   2   you're looking at picture 12 towards the right-hand    2            Q. Okay. Do you know for a fact when the
   3   side at the end of the corridor?                       3   tile surface you tested was last cleaned?
   4           Q. Picture 12?                                 4            A. Based on deposition statement, they do
   5           A. Figure 12. In that direction.               5   it routinely. So I would assume -- I don't know
   6           Q. Well, I don't see it in the                 6   for a fact.
   7   photograph.                                            7            Q. That's what I'm asking.
   8           A. No. It's not in the picture. But the        8            A. I don't know for a fact.
   9   direction of the picture is the door that we           9            Q. What was the purpose of you doing a
  10   entered into the spa.                                 10   microscopic inspection of the tile?
  11           Q. You know what I'm talking about. You       11            A. To look at the surface porosity, the
  12   enter from the locker room area --                    12   conditions, imperfections, wear, tear,
  13           A. Yes.                                       13   contaminants, et cetera, et cetera.
  14           Q. -- there's a door. Then you go from        14            Q. Was there wear and tear?
  15   the door to get to the area where Ms Kessler fell.    15            A. Not to -- define wear and tear.
  16                 All right. Just let me just finish      16            Q. I'm trying to find out why you did the
  17   the question, and then you can answer.                17   microscopic -- what did you call it?
  18           A. Of course.                                 18            A. Microscopic imaging.
  19           Q. You know what I'm referring to;            19            Q. Why did you do it and what were your
  20   correct?                                              20   findings? How they relate to your opinions in this
  21           A. I'm just making sure we're talking         21   case?
  22   about the same door, yes.                             22            A. Why do I do it? It's a good practice
  23           Q. Yeah. There's a door where you open        23   and it's a good visual evaluation of any floor
  24   up and leads into the thermal area of the spa;        24   surface.
  25   correct?                                              25                What I was able to find from this is
                                                        98                                                    100
   1           A. If you don't open it, you would bang        1   that there's a relative smoothness to the tile. So
   2   onto the door. That's correct.                         2   the surface deformations that there are are
   3           Q. Okay. Did you measure from the              3   relatively smooth. The surface deformations that
   4   entryway of that door up until the point where         4   can be seen, as you're looking down on to the tile,
   5   Ms. Kessler fell?                                      5   are relatively smooth.
   6           A. The distance between the door and that      6                There was a small level of surface
   7   point? I did not measure that distance.                7   porosity, which you can see in the kind of little
   8           Q. Looking on page 16 of your report, on       8   dots of the Figure 11 in the report. And it was
   9   your 4.1.2. And when you're there, let me know.        9   relatively homogeneous, again, from a surface point
  10           A. 4.1.2.                                     10   of view.
  11           Q. Yes.                                       11                If you had areas with more or less --
  12           A. Right there.                               12   so if it was less homogeneous from a contaminant
  13           Q. Okay. You say, "Most likely, cleaning      13   point of view, it would show lack of cleaning or
  14   and disinfecting activity took place prior to the     14   maintenance. That was not the case. It was quite
  15   inspection, as part of routine maintenance            15   homogeneous, from the evaluation.
  16   necessary to insure public health."                   16            Q. It looked like it was well-maintained
  17                 Do you see that?                        17   tile?
  18           A. Yes.                                       18            A. It looked like it was cleaned, yes.
  19           Q. Do you know for a fact whether any         19            Q. And did you observe this with your own
  20   cleaning or disinfecting activities took place        20   eyes or with some sort of instrument?
  21   right prior to you inspecting the spa?                21            A. This was using a USB microscope and
  22           A. So based on the microscopic evaluation     22   with a magnification of 50, whatever it was.
  23   of the tile, it's possible to infer that it was       23            Q. Have you done any testing of this type
  24   disinfected since there's no typical deposits of      24   of tile outside of the BREAKAWAY?
  25   dirt and contaminants that you would see when         25            A. I have not, no.
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                                                       101                                                 103
   1            Q. Have you ever tested this specific          1   tile for the Mandara Spa; correct?
   2   type of tile in the past, other than this tile?         2            A. That's why I refer as to those in
   3            A. I'm not aware of other tiles that I         3   control of the vessel and the spa.
   4   have tested that are from the same manufacturer.        4            Q. You don't know who specifically
   5   I'm not sure.                                           5   selected the tile in the Mandara Spa; correct?
   6            Q. R11 tile has -- strike that.                6            A. I don't.
   7                 You make reference on page 18 of          7                 MR. GERSON: Objection. Asked and
   8   4.2.4. "Those in control of the vessel and spa          8            answered three times.
   9   should have been aware of the inadequate and            9   BY MR. GORDON:
  10   deficient selected type of tile, and thus failed to    10            Q. Correct?
  11   use a safe floor surface for an area that is known     11            A. Correct. I don't. And that's why I
  12   to be wet or very wet."                                12   referred to a third term based, those in control of
  13                 Do you see that?                         13   the vessel and the spa. If I knew who it was,
  14            A. I see that.                                14   maybe I would have included it in the report.
  15            Q. What's the basis for that statement?       15            Q. Do you have a copy of the SOLAS
  16            A. Well, the basis is that it's part of       16   Chapter 2-2, Part D, Regulation 13?
  17   the case documentation. The tile is classified as      17            A. Can you say that again?
  18   an R11 tile. And for the application that it was       18            Q. I was just reading off your report.
  19   applied to, the spa, an R12 or R11 would have been     19   Under 4.2.7, you made reference to SOLAS.
  20   the proper tile to be -- the proper rating for the     20            A. 4.2 point?
  21   tile to be installed.                                  21            Q. You make reference to SOLAS
  22            Q. That's your opinion; correct?              22   Chapter 2-2, Part D?
  23            A. It is the opinion of the DIN, the          23            A. Yes.
  24   Deutsch institute that provides those reports as       24            Q. Do you have a copy of that with you?
  25   well, yes.                                             25            A. It's probably provided in the
                                                       102                                                       104
   1            Q. And is there any evidence in this case      1   documents or --
   2   that anyone from Norwegian was aware that this          2            Q. I didn't see it but --
   3   report -- this tile was purportedly the incorrect       3            A. It's a public document. If you Google
   4   rated tile?                                             4   it, you will be able to.
   5                 MR. GERSON: Object to the form.           5            Q. What's your opinion in this regard?
   6                 THE WITNESS: Obviously, they didn't       6            A. As stated in the report, the means of
   7            know, otherwise they would have changed it.    7   egress, which the entrance to the spa area was one,
   8                But so when you procure a boat, you        8   since in order to exit in case of an emergency you
   9            know, you specify all the different things,    9   have to walk through there, that spa corridor does
  10            engines, interior color, finishes, et         10   not meet the International Convention for the
  11            cetera. And, you know, part of that, I'm      11   Safety of Life at Sea, SOLAS, in which it states
  12            sure, maybe the interior designer or the      12   that floor surfaces must be slip-free under foot.
  13            architect might have specified that.          13   And it's indicated explicitly on that section.
  14            Ultimately, you know, you buy something       14            Q. Is there anything in that SOLAS
  15            with your specs, and you would want to make   15   chapter you cite which references specific
  16            sure your specs are met.                      16   coefficient of friction measurements?
  17   BY MR. GORDON:                                         17            A. It refers to a slip-free under foot.
  18            Q. You don't know who selected the tile;      18   And there's a definition given by it.
  19   correct?                                               19            Q. What's the definition?
  20            A. As we said before, I don't know who        20            A. That it shall be slip-free under foot.
  21   selected the tile. But ultimately Norwegian buys       21   There's a section for definitions in the earlier
  22   the boat, not from the manufacturer, from the          22   part that I don't have with me. So I cannot quote
  23   vessel, and they specify what they want.               23   verbatim what that definition is.
  24            Q. But you don't know in this case with       24            Q. But does it make specific reference to
  25   respect to this ship who selected that specific        25   a slip resistance number, a minimum?
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                                                    105                                                     107
   1           A. Not to my recollection.                     1   Ms. Kessler fell?
   2           Q. Okay. And the word "slip-free," is          2           A. So based on the CCTV image, as a
   3   there any specific definition for that at all?         3   squeegeed area, and that was the area where water
   4           A. There's a definition within the --          4   was deposited during the inspection, that water
   5   within the SOLAS. Again, I don't have that with        5   during the inspection remained stagnant.
   6   me.                                                    6           Q. I want to first get to the point that
   7           Q. All right. We're on page 19, if you         7   supports your opinion that somebody pushed water in
   8   want to follow with me.                                8   the area where Ms. Kessler fell before she fell.
   9           A. Yeah.                                       9   What's that based on?
  10           Q. 4.2.8. You start making reference to       10           A. Based on the CCTV images reviewed as
  11   floor surface drainage.                               11   part of the case.
  12           A. Yes.                                       12           Q. And you reviewed the actual crew
  13           Q. You state, "When evaluating the floor      13   member depicted in the CCTV with the squeegee;
  14   surface, water remained stagnant and when it          14   correct?
  15   drained it did so away from the drainage points."     15           A. That's correct, yes.
  16           A. That's correct.                            16           Q. And he testified he did not squeeze
  17           Q. Then you make reference to, "An            17   water in the area where Ms. Kessler fell; correct?
  18   accumulation of water at the slip-and-fall location   18                  MR. GERSON: Object to the form.
  19   of Ms. Kessler did not drain from this location       19                  THE WITNESS: That's what he
  20   when deposited by crew."                              20            testified, I assume, yes.
  21                Correct?                                 21   BY MR. GORDON:
  22           A. That's correct.                            22           Q. Well, it's not what you assume.
  23           Q. What are you referring to specifically     23   That's what he testified to. Right?
  24   there?                                                24                  MR. GERSON: Object to the form.
  25           A. I'm referring to the CCTV footage that     25                  THE WITNESS: Again, I don't have --
                                                       106                                                  108
   1   was provided by the -- I'll get the name right --      1           we need to open it, but yes.
   2   the Tellez transcript, deposition transcript, that     2   BY MR. GORDON:
   3   you can see a crew member squeegeeing the floor and    3           Q. So you're just assuming based on your
   4   depositing the water that was squeegeed in that        4   observation of a video that someone pushed water on
   5   area.                                                  5   the floor?
   6           Q. Okay. First of all, Tung Tellez is a        6           A. So there was a CCTV image that
   7   security officer; correct?                             7   depicted the fall. And prior to the fall and even
   8           A. He is. I'm referring to the exhibit         8   several minutes before the fall, you can see the
   9   that was provided in that depo.                        9   same crew member kind of squeegeeing the floor
  10           Q. Okay. You'll agree Tung Tellez wasn't      10   backwards and forwards as other guests are using
  11   responsible for maintaining the floor in the spa on   11   the facilities, tracking water around. You can
  12   the day of Ms. Kessler's incident; correct?           12   clearly see that they are wet.
  13           A. I would agree with that. I think I'm       13                 And then he appears to come under
  14   not making any reference to that. I'm only making     14   where the video position camera is and kind of
  15   reference to the exhibit that I happened to have      15   curving around with the squeegee and stopping,
  16   open, which has also been provided in other           16   holding the towel in his hand.
  17   deposition transcripts, on the still images from      17           Q. Is it your testimony that you can see
  18   the CCTV that show the crew member squeegeeing the    18   a crew member pushing water with a squeegee in the
  19   floor and depositing it, whatever surface floor       19   area where Ms. Kessler fell?
  20   water he was squeegeeing in that area.                20           A. I can see the crew member squeegeeing
  21           Q. In what area?                              21   the floor and stopping at the area -- I'm answering
  22           A. In the area where Ms. Kessler slipped      22   your question so --
  23   and fell.                                             23           Q. Okay.
  24           Q. Okay. So your testimony is that a          24           A. -- what I'm alluding to is, I can see
  25   crew member squeegeed water in the area when          25   the crew member squeegeeing the surface. And since
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                                                109                                                           111
   1   the same crew member testified that he only             1           shows what it shows.
   2   squeegees areas where there's water, it can be          2                 MR. GORDON: It does. It shows no
   3   inferred that there was water while he was              3           water.
   4   squeegeeing that area -- let me finish. Thank you.      4                 MR. GERSON: Whatever it shows, it
   5           Q. Go ahead. I'm not going to yell.             5           shows.
   6           A. And therefore he placed that water           6                 What are you arguing with him for?
   7   over there. Thank you.                                  7                 MR. GORDON: I'm not arguing. I want
   8           Q. My question is, did you see actual           8           him to answer the question because --
   9   water being squeegeed by the crew member on the         9                 MR. GERSON: He just answered it four
  10   video? Not whether he's using a squeegee, whether      10           times.
  11   he's actually squeegeeing water that you observed      11                 MR. GORDON: He hasn't answered it.
  12   on the CCTV.                                           12   BY MR. GORDON:
  13           A. I was not there at the time of              13           Q. Ask it again. Okay? It's very
  14   incident; so it's not possible to see.                 14   simple.
  15           Q. Right.                                      15                 Did you personally see on the video a
  16                You testified you reviewed CCTV;          16   crew member squeegee water on the video before
  17   correct?                                               17   Ms. Kessler fell in that same area?
  18           A. That's correct.                             18           A. Can I answer?
  19           Q. Did you see on the CCTV a crew member       19           Q. You haven't answer it yet, but go
  20   actually push water on the video in the area where     20   ahead.
  21   Ms. Kessler fell?                                      21                 MR. GERSON: Object. Move to strike
  22           A. Based on the testimony provided by the      22           counsel's characterization. He's answered
  23   crew member saying that he squeegees water in order    23           it four times already.
  24   to dry the surface when it's wet, then it can be       24                 THE WITNESS: What can be seen, that I
  25   inferred that, as he was conducting his job, he was    25           personally saw with my own eyes, both of
                                                        110                                                         112
   1   squeegeeing the surface -- which should have had        1           them, the CCTV footage, that the crew
   2   water, that's what he testified -- finalizing and       2           member is performing his duties, which as
   3   stopping in the area where Ms. Kessler fell.            3           he testifies in the deposition is to
   4                MR. GORDON: Move to strike the             4           squeegee the floor when wet. And he can
   5           answer. I'll ask it again.                      5           been seen going backwards, forwards,
   6   BY MR. GORDON:                                          6           squeegeeing the floor several times, and
   7           Q. Did you personally observe with your         7           then squeegees the floor towards that area,
   8   own eyes on the CCTV that you viewed a crew member      8           stopping at the location where Ms. Kessler
   9   push water in the area where Ms. Kessler fell           9           fell.
  10   before the incident?                                   10   BY MR. GORDON:
  11                MR. GERSON: Objection. Asked and          11           Q. Okay. Did you see water on the floor
  12           answered three or four times.                  12   in the video?
  13                I'm going to let him answer one more      13           A. Based on the review of Exhibit 5A and
  14           time. Then we're going to stop this.           14   5, as mentioned before, and comparing to what was
  15   BY MR. GORDON:                                         15   undertaken during the inspection, and understanding
  16           Q. Go ahead.                                   16   the difference in contrast with the tile, with a
  17           A. Again, I see a member that is               17   low degree of certainty, it might be possible to
  18   squeegeeing the surface. And based on the              18   state that there's water at that location.
  19   deposition transcript, that member only squeegees      19           Q. And you're just assuming that there
  20   the surface when it's wet. So it can be inferred       20   might be water there; correct?
  21   that he's squeegeeing water to that location.          21           A. Again, based on the evidence and the
  22           Q. You're inferring it, but you didn't         22   transcripts that I reviewed, yes. Unfortunately, I
  23   actual see with your own eyes; correct?                23   wasn't there at the time of the incident to see it
  24           A. As I said --                                24   with my two eyes.
  25                MR. GERSON: Object to the form. It        25           Q. You didn't see it with your own two
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                                                    113                                                        115
   1   eyes on the video you were provided; correct?          1          Q. You only had four minutes of CCTV,
   2               MR. GERSON: Object to the form.            2   which you testified earlier; right?
   3          Asked and answered five times now or            3          A. More or less, yes.
   4          perhaps more.                                   4          Q. Okay. So you really don't know how
   5               THE WITNESS: As I said, I saw -- in        5   many people walked through there within the last, I
   6          fact, you could even tell that the angle of     6   don't know, ten minutes before Ms. Kessler;
   7          the crew member with -- you know, at a          7   correct?
   8          certain point is showing your back. So          8          A. I can only attest to what was provided
   9          tracking the water along.                       9   to me.
  10               So unless I have X-ray vision to be       10          Q. In that four minutes, did you see any
  11          able to see through him, it would be -- I'm    11   other person slip and fall in the same area where
  12          saying, as he's turning around. Right?         12   Ms. Kessler fell?
  13          So -- so it would be difficult.                13          A. Not possible to tell exactly the same
  14   BY MR. GORDON:                                        14   area where she fell, as we discussed before. I
  15          Q. Difficult for what?                         15   wouldn't know if they walked exactly in the same
  16          A. To see him tracking that water as he's      16   location where she fell, those individuals that
  17   turning around in front of the camera,                17   walked through the area.
  18   squeegeeing --                                        18          Q. Sir, you refer to this area
  19          Q. So you didn't actually see the water.       19   corridor -- correct? -- in Exhibit 5 or 5A?
  20          A. As I said, I see the crew member            20          A. Yes.
  21   performing -- maybe this is the last time I will      21          Q. You saw other people walking in that
  22   answer -- his duties that he states he squeegees      22   area before Ms. Kessler fell; correct?
  23   wet floors. And that's exactly what he's doing.       23          A. In the corridor, yes.
  24          Q. He also testified, Mr. Collantes said       24          Q. You call it a corridor; correct?
  25   he was not squeegeeing water in the area where        25          A. Yeah.
                                                  114                                                        116
   1   Ms. Kessler fell; correct?                             1           Q. Right?
   2                MR. GERSON: Object to the form.           2           A. That's what we are calling it, yes.
   3                THE WITNESS: That's correct.              3   That's what I refer to it in the report.
   4   BY MR. GORDON:                                         4           Q. Did you see anybody else other than
   5            Q. Do you have the timestamp of this          5   Ms. Kessler slip and fall prior to her in the
   6   video that you mentioned regarding this crew member    6   immediate area?
   7   who you think was squeegeeing water?                   7           A. Based on the CCTV evidence that was
   8            A. Yes, I do.                                 8   provided to me, I did not.
   9            Q. What is it?                                9           Q. And your testimony about -- the
  10            A. 3:47:06.257 p.m.                          10   testimony that you had regarding observing a crew
  11            Q. You said 3:47? I'm sorry.                 11   member squeegeeing water from Tung Tellez's
  12            A. 3:47:06.                                  12   deposition, I believe you said it was an exhibit?
  13            Q. Okay. Thanks.                             13           A. Right. It was the exhibit that I had
  14                And in the CCTV that you were provided   14   open. That same exhibit has been presented in
  15   and which you reviewed, did you also see other        15   other depos, yeah.
  16   people walking in the same location as Ms. Kessler    16           Q. Is that a video or still shot of the
  17   prior to Ms. Kessler's fall?                          17   video?
  18            A. I recall seeing other guests in this      18           A. It's a still shot of the video, as I
  19   case, yes. And crew.                                  19   mentioned before.
  20            Q. How many?                                 20           Q. Do you know what the exhibit number
  21            A. I can't recall. I don't have the          21   is, by any chance?
  22   video in front of me.                                 22           A. I think it's Exhibit 1.
  23            Q. It was more than three, correct?          23           Q. All right. Thanks.
  24            A. As I said, I don't have the video, so     24               You have a reference on page 19 of
  25   I can't recall.                                       25   your report regarding Ms. Kessler's gait.
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   1           A. Yes.                                        1   Ms. Kessler had any issues with her gait as
   2           Q. Okay. And your evaluation -- strike         2   described by a medical doctor; correct?
   3   that.                                                  3            A. Can you define "gait," please.
   4              Your evaluation of Ms. Kessler's gait       4            Q. Well, it's in your report; correct?
   5   was based on the video footage of her walking down     5            A. I know, but I want to make sure we
   6   what you describe as the corridor?                     6   talk about the same thing.
   7          A. Yes.                                         7            Q. What's your definition of "gait"?
   8          Q. Okay. And you've never reviewed any          8            A. So in the case of the report, the gait
   9   footage of Ms. Kessler's gait prior to that ever;      9   that I'm trying to compare is immediately before
  10   correct?                                              10   and after the incident.
  11          A. That's correct.                             11                Maybe bring some background reference,
  12          Q. You don't know what her gait was like       12   as it's stated, Oberg, et.al, and Lee Grimson, you
  13   before she walked through that door into that CCTV    13   might have an inadequate or a strange gait. Gait
  14   range; correct?                                       14   being the sort of rhythm that a person walks. And
  15          A. Only what was available made to me,         15   as long as that rhythm is consistent, even for the
  16   yes.                                                  16   awkwardness that one may have of a nonregular gait
  17          Q. And that was how many seconds?              17   cycle, the intent here is to compare the gait
  18          A. A couple of seconds.                        18   before and after.
  19          Q. How many?                                   19                So the gait cycle that was being
  20          A. A couple of seconds.                        20   compared, it's not about any medical history, since
  21          Q. It was under ten seconds?                   21   I don't have that one, or after the incident, it's
  22          A. Probably, yes. A couple tends to be         22   about the gait cycle, meaning that rhythm that she
  23   two. So that would be less than ten.                  23   has as she's walking prior to the incident.
  24          Q. Okay. So the totality of your opinion       24                And it is possible -- thank you for
  25   regarding Ms. Kessler's gait was based on those few   25   letting me finish, appreciate it. It was possible,
                                                 118                                                             120
   1   seconds of CCTV footage?                               1   based on Figure 13, as we stated before, that that
   2           A. So they can be clearly seen in figure       2   cycle was stable and balanced. And that's the
   3   13 prior to her incident.                              3   opinion that I'm making.
   4           Q. Okay.                                       4           Q. Based on the few seconds of video
   5           A. That's what I'm basing the gait in as       5   footage?
   6   is referenced in the report.                           6           A. The cycle prior to the incident, yes.
   7           Q. You also state that you don't think         7   Her gait cycle prior to her gait cycle after the
   8   that the incident was based on her -- or her fall      8   incident.
   9   was not based on her gait or her balance?              9           Q. Which is based on the video.
  10           A. Her balance; correct.                      10           A. This is what we've been saying from
  11           Q. And you have not reviewed any of           11   the beginning. So we reiterate that Figure 13
  12   Ms. Kessler's medical records; correct?               12   talks about the CCTV provided, the few seconds
  13           A. That's correct.                            13   prior to her incident, and we're comparing the gait
  14           Q. Okay. And therefore you would agree        14   cycle prior and after in order to determine the
  15   that you don't know what her medical history was;     15   onset of the slip and what might have caused it.
  16   correct?                                              16           Q. You would agree that you are not -- or
  17           A. Except for what she testified.             17   strike that.
  18                MR. GERSON: This has all been covered    18                You would agree that you do not know
  19           already.                                      19   what Ms. Kessler's medical condition was in terms
  20                Why are you doing this?                  20   of her ability to walk; correct?
  21   BY MR. GORDON:                                        21                MR. GERSON: Objection. Asked and
  22           Q. Go ahead.                                  22           answered over and over again.
  23           A. Except for what she's testified, as we     23                Why are you doing this?
  24   reviewed before.                                      24   BY MR. GORDON:
  25           Q. Okay. And -- you don't know whether        25           Q. Go ahead.
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   1           A. Again, I'm comparing the gait cycle          1   susceptible.
   2   before or after the incident.                           2                 Please define the medical condition
   3           Q. You would agree that a medical               3   and be more explicit when asking the question.
   4   condition could affect someone's ability to walk;       4            Q. As a general statement, you would
   5   correct?                                                5   agree, sir, that a medical condition may make
   6           A. So even -- as I was trying to mention        6   someone more susceptible to falling; correct?
   7   when I asked about the definition -- even if your       7            A. Its depends. That would be my answer.
   8   gait cycle is altered in any way, it's altered or       8            Q. Depends on what?
   9   changed in any way, the important thing -- again,       9            A. On the medical condition.
  10   what I'm doing in the report is to compare before      10            Q. Right.
  11   and after.                                             11                 And you're not a medical doctor;
  12                 So even though you might have an         12   correct?
  13   awkward cycle, as I mentioned before, if that cycle    13            A. That's correct.
  14   is steady, stable, and balanced, that's the purpose    14            Q. You didn't review the medical records?
  15   of what was being done here.                           15            A. That's correct, as we stated before.
  16           Q. Okay.                                       16            Q. And to be clear, for an example, I
  17           A. Context matters. That's what I'm            17   will show a medical record from Dr. Schwartz dated
  18   maybe trying to summarize.                             18   January 12, 2017.
  19           Q. It does. And you would agree that           19                 What are we on?
  20   someone with a medical condition, that may affect      20            A. Eight.
  21   their ability to walk; correct?                        21                 (Exhibit 8 was marked for
  22           A. Depends on -- I mean, it's a very           22            identification purposes.)
  23   broad statement. But as long as that medical           23                 THE WITNESS: This is number 8?
  24   condition results in a steady and stable gait,         24   BY MR. GORDON:
  25   that's still okay. It shows a balance and steady       25            Q. Yes, sir.
                                                     122                                                        124
   1   gait.                                                   1            A. Thank you.
   2                 The point being that the analysis that    2                 MR. GERSON: I object to the form.
   3   is provided in the report, Figure 13, Figure 14, is     3   BY MR. GORDON:
   4   the comparison of the gait cycle before and after       4            Q. Okay. That's fine.
   5   the incident. I think I mentioned it a couple of        5                 Sir, showing you Exhibit 8, you would
   6   times before.                                           6   agree that according to this record from
   7           Q. My question is, someone with a medical       7   Dr. Schwartz -- can I see it real quick?
   8   condition, that could affect their ability to walk;     8            A. Sure.
   9   correct?                                                9            Q. It's January 12, 2017. Ms. Kessler
  10           A. I'm not a medical doctor, so I don't        10   reported gait abnormality and balance difficulty;
  11   know how to answer that question. It depends on        11   correct?
  12   the condition. It depends on many things. It's a       12                 MR. GERSON: Object to the form.
  13   very broad statement.                                  13                 THE WITNESS: Could you point out in
  14                 Even somebody without a medical          14            the report where it's located at?
  15   condition can affect their ability to walk. Okay?      15   BY MR. GORDON:
  16   The opposite is true. I'm just trying to give you      16            Q. Sure.
  17   some context.                                          17                 Page 2 under "Neurologic: Balance
  18           Q. You're the one who's providing              18   difficulty, admits. Gait abnormality, admits."
  19   opinions on gait. So I'm just asking questions.        19            A. Thank you.
  20           A. Right. I understand.                        20            Q. Correct?
  21           Q. So you would agree that someone with a      21            A. Can I review it?
  22   medical condition, that may make them more             22            Q. All right.
  23   susceptible to falling; correct?                       23            A. We're reviewing a document. So this
  24           A. And the opposite would be true. They        24   is review of the symptoms. This is provided by her
  25   could have a medical condition and not be              25   opinion.
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   1            Q. It's provided by her medical doctor?       1               MR. GERSON: Object to the form.
   2            A. Right. I'm just trying to see, okay,       2               THE WITNESS: Again, in a generic
   3   review. This is first time I see this document.        3          statement -- again, in context, it depends
   4   So if you can give me some time to review it, I        4          on the amount, the person, the type of
   5   appreciate it.                                         5          alcohol, concentration, the food that you
   6            Q. Sure.                                      6          might have had.
   7                 MR. GERSON: What's the question?         7               I'm not a medical doctor, but I think
   8   BY MR. GORDON:                                         8          these are common knowledge regarding
   9            Q. You want to read it first and let me       9          alcohol, the effects of alcohol.
  10   know when you're ready.                               10   BY MR. GORDON:
  11            A. Yes. Page 2 of Exhibit 8 under            11          Q. So the answer is yes; correct?
  12   "Neurologic" states, and I quote, "Balance            12          A. It depends. The answer is, it
  13   difficulty, admits."                                  13   depends.
  14                 I'm assuming that that's coming from    14               You could have alcohol and not be
  15   her rather than an assessment by the doctor.          15   impaired; right? And you could have alcohol and be
  16                 "Gait abnormality, admits," meaning     16   impaired. It depends.
  17   that's provided by the patient.                       17          Q. As a general statement, you would
  18                 "Seizures, denies."                     18   agree that alcohol consumption can affect someone's
  19                 MR. GERSON: Okay. For the record,       19   balance; correct?
  20            the witness is simply reading what's on a    20          A. It depends on the quantity of the
  21            document he's never seen before.             21   alcohol, on the individual, how big you are, if you
  22                 MR. GORDON: It's a speaking             22   had lunch or dinner before, if you have an empty
  23            objection.                                   23   tummy.
  24                 MR. GERSON: And it's outside his        24               My wife, for instance, she's terrible.
  25            expertise.                                   25   She smells a glass of wine, and forget about it.
                                                     126                                                        128
   1                 MR. GORDON: It's a speaking              1   She's a cheap date, I should say.
   2            objection.                                    2               MR. GERSON: Let's not speculate about
   3                 MR. GERSON: You bring this to the        3          things outside your expertise.
   4            attention of the court --                     4               THE WITNESS: Sorry.
   5                 MR. GORDON: You want to stipulate --     5               MR. GERSON: And let's not ask
   6                 MR. GERSON: -- and let the court         6          questions that are totally wrong and force
   7            evaluate what you're doing now, which is      7          us to move for protective order, because
   8            totally wrong.                                8          this witness has no opinions to give on
   9                 MR. GORDON: That's an inappropriate      9          toxicology or the effects of alcohol on the
  10            objection.                                   10          plaintiff at the time of the incident.
  11   BY MR. GORDON:                                        11               MR. GORDON: Counsel, if you want to
  12            Q. Dr. De Caso, Ms. Kessler herself          12          object to form, that's fine.
  13   admitted, according to those records, that she had    13   BY MR. GORDON:
  14   a balance difficulty -- she had balance               14          Q. Dr. De Caso --
  15   difficulties and a gait abnormality; correct?         15          A. Yes.
  16            A. Based on this document dated              16          Q. -- you would agree that --
  17   January 12, 2017, that's -- appears to be correct.    17               MR. GERSON: I'm objecting because
  18            Q. Okay.                                     18          this is harassment. This has nothing to do
  19            A. Which is two years prior to the           19          with this witness.
  20   incident, I think, if I'm not mistaken.               20               MR. GORDON: Sure it does. He has
  21            Q. Right.                                    21          opinions on balance and gait.
  22            A. Thank you.                                22   BY MR. GORDON:
  23            Q. You would agree that alcohol              23          Q. Dr. De Caso, you would agree that
  24   consumption can affect a person's balance; correct?   24   alcohol consumption can cause a person to fall;
  25            A. Again --                                  25   correct?
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                                                129                                                         131
   1           A. It depends.                                  1   BY MR. GORDON:
   2           Q. Depends on what?                             2            Q. It's an article you cited in your
   3           A. Once again, it depends on the person,        3   expert report in this case; correct?
   4   the amount of alcohol consumed, and they had lunch      4            A. Yes. In order to differentiate
   5   before and whatnot.                                     5   between extrinsic and intrinsic factors that affect
   6           Q. Okay. As a general statement, you            6   a slip-and-fall accident. One of the many things
   7   would agree that alcohol consumption may cause          7   that are evaluated in that report, it talks about
   8   someone to fall?                                        8   alcohol.
   9                 MR. GERSON: As a lay person, is it        9            Q. Right.
  10           possible?                                      10                 And assuming that Ms. Kessler was
  11                 THE WITNESS: It could be possible.       11   intoxicated and impaired, that could have caused
  12   BY MR. GORDON:                                         12   her to fall; correct?
  13           Q. In fact, the article -- one of the          13                 MR. GERSON: Object to the form.
  14   articles you provided, which is cited in your          14                 THE WITNESS: Assuming that she was
  15   report --                                              15            intoxicated and impaired to a degree, I'm
  16           A. Yes.                                        16            assuming due to the alcohol?
  17           Q. -- "Falls and Working Individuals,          17   BY MR. GORDON:
  18   Role of Extrinsic and Intrinsic Factors," written      18            Q. Yes.
  19   by Gauchard, Chau, Mur, and Perrin.                    19            A. Right. You didn't ask that.
  20                 You're familiar with that article;       20                 Then, yes, that would cause her, as
  21   right?                                                 21   you quoted of the -- on the report, it can provide
  22           A. Yes.                                        22   her inability to walk and therefore cause a slip.
  23           Q. You cited it; right?                        23            Q. Okay. And you reviewed the testimony
  24           A. That's correct. It's 2010 -- yes.           24   of Ms. Kessler; right?
  25           Q. You would agree that in that article        25            A. Yes.
                                                        130                                                      132
   1   that you cite in your own report it specifically        1            Q. And you read where she testified she
   2   references alcohol as being a factor that can           2   consumed alcohol earlier that day; correct?
   3   disturb the different levels of postural regulation     3            A. She did say something along those
   4   and cause a fall; correct?                              4   lines, yes.
   5           A. It can, yes.                                 5            Q. And at 4.2.12 on page 19, you make
   6           Q. I'm reading right out of page 1332 of        6   reference again to CCTV, deposition testimony,
   7   that article.                                           7   regarding, I'm quoting, "The significant
   8           A. Okay.                                        8   accumulation of liquid/contaminants deposited by
   9           Q. And I'm just quoting from that same          9   the crew with the squeegee."
  10   article which states "The most frequent etiology of    10                 Do you see that part of the report?
  11   these cerebellar syndromes is alcohol consumption."    11            A. On page?
  12                 You're familiar with that --             12            Q. Page 19, 4.2.12.
  13                 MR. GERSON: Object to the form.          13            A. Uh-huh.
  14   BY MR. GORDON:                                         14            Q. Yes?
  15           Q. -- in your own article -- strike that.      15            A. Yeah.
  16                 You're familiar with that reference in   16            Q. I mean, I don't want to go into this
  17   this article; correct?                                 17   again, if you already talked about it. Is this
  18                 MR. GERSON: Object to the form.          18   the -- is the basis for that statement what you
  19                 THE WITNESS: I am. That's provided       19   talked about earlier regarding Mr. Tong's
  20           as a generic sample -- as a general            20   deposition exhibit?
  21           reference in order to provide information      21            A. That's correct.
  22           about conditions.                              22            Q. Okay. So there's nothing else other
  23                 If you probably review the report,       23   than that?
  24           it's not explicitly referenced within a        24            A. That's correct.
  25           given section to form opinions.                25                 MR. GERSON: Well, it speaks for
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                                                  133                                                        135
   1           itself in references.                           1           A. I'm looking at the deposition
   2                 MR. GORDON: Well, counsel, object to      2   transcripts. I remember there's an RFP -- the RFP
   3           form. I mean, if you want to ask him            3   box, I think maybe it was in that one. It was a
   4           questions --                                    4   table with priors. I'm trying to recall.
   5                 MR. GERSON: Why would you distort         5           Q. Well, you make reference about prior
   6           something that's right there in plain           6   slip-and-fall incidents. I'm just trying to ask
   7           English?                                        7   you questions about it so --
   8                 MR. GORDON: You want me to go over it     8           A. I know. And I'm trying to respond to
   9           again?                                          9   the question.
  10                 MR. GERSON: No. I'm not asking you       10                Can you repeat the question, please.
  11           to do anything except ask relevant             11           Q. Yeah.
  12           questions and complete the deposition in an    12                My question is -- before I get to my
  13           expeditious way.                               13   question, I want to make sure you're ready to
  14                 MR. GORDON: Okay.                        14   answer them. So is there something --
  15   BY MR. GORDON:                                         15           A. I don't know. You need to ask it
  16           Q. You make reference on page 19 at            16   first.
  17   4.2.13 to other or prior slip-and-fall incidents.      17           Q. Well, my question is, what is the
  18           A. 4.2.13 to other slip-and-fall cases?        18   basis for your -- I guess it's an opinion on
  19   Yes, as part of priors that were reported in the       19   page 19 at 4.2.13 regarding, "Prior slip-and-fall
  20   case documentation, the request for evidence.          20   incidents that occurred on equivalent spa floor
  21           Q. Let me just ask you a couple questions      21   surface type, both at the BREAKAWAY vessel and the
  22   before that.                                           22   GETAWAY, are further evidence about -- are further
  23                 You've never been employed in any sort   23   evidence that the levels of the spa floor surface
  24   of risk management position, have you?                 24   traction may have been inadequate."
  25           A. Depends. I have risk management             25                That's your statement in your report;
                                                  134                                                        136
   1   responsibilities as part of my position.                1   correct?
   2             Q. Have you worked as a risk manager?         2           A. You've read it correctly, yes.
   3             A. Define "risk management." Risk             3           Q. I'm just trying to find the basis for
   4   management is part of my -- of my responsibilities      4   that statement. That's all I'm trying to find out.
   5   and roles.                                              5           A. So there was prior slip-and-fall cases
   6             Q. Have you worked as a risk manager?         6   reported as part of the case documentation and
   7                 MR. GERSON: Object to the form.           7   making reference to what was provided in the case
   8             Asked and answered.                           8   documentation.
   9   BY MR. GORDON:                                          9           Q. Okay. So what specific prior
  10             Q. Not whether it's one of your roles;       10   slip-and-fall incidents are you referring to to
  11   whether it is your title.                              11   support that statement in your report?
  12             A. I've never been employed with the         12           A. Right.
  13   title "risk manager," if that's the question that      13                If you give me a second, I will look
  14   you've asking. No, I have not.                         14   through the case documentation.
  15             Q. Yes.                                      15           Q. That's what I was -- okay.
  16                 What are you referring to for these      16                (Thereupon, a brief recess was
  17   prior slip-and-fall incidents?                         17           taken @ 2:59 p.m.)
  18             A. This is part of the interrogatories.      18                (Proceedings were resumed @
  19             Q. I'm trying to look for them in the        19           3:08 p.m.)
  20   documents that were provided on the link.              20   BY MR. GORDON:
  21             A. It was in a deposition. So in             21           Q. Sir, did you find the information you
  22   reviewing the Berman.                                  22   were looking for?
  23             Q. As you look, is there anything            23           A. Yes. This would be the Defendant's
  24   specific in your file that will elicit the             24   Second Supplemental Answers to Plaintiff's Initial
  25   information?                                           25   Interrogatories.
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   1           Q. Okay. Is there any specific prior           1   same tile surface.
   2   incidents you're referencing?                          2           Q. Okay. You never tested the area by
   3           A. So the answer to, I guess,                  3   the steam room; correct?
   4   Question 12.                                           4           A. Correct.
   5           Q. Okay.                                       5           Q. With your English XL; correct?
   6           A. It's provided items on the BREAKAWAY.       6           A. That's correct.
   7           Q. Right.                                      7           Q. And Ms. Grey's incident happened near
   8           A. And the GETAWAY.                            8   the swimming pool; correct? Or beside the swimming
   9           Q. Are you relying on any specific prior       9   pool; correct?
  10   incident to support your statement or opinions in     10           A. Again, I refer to it as the end of the
  11   this case?                                            11   corridor, the spa entrance.
  12           A. Those that share the same -- those         12           Q. Well, Helen Grey, her incident,
  13   that occurred in the spa deck on the same type of     13   according to the interrogatory answers, "occurred
  14   surface.                                              14   while walking towards the thermal suite located in
  15           Q. Which one?                                 15   the spa area beside the swimming pool."
  16           A. So it would be Carolyn Anne. It said       16                Correct?
  17   it was unknown. Carolyn Anne Bellai, B-E-L-L-A-I,     17           A. Right. Which shares the same type of
  18   said it was unknown. Could be one or the other.       18   surface floor as that scene where Ms. Kessler fell.
  19           Q. So it's unknown whether that occurred      19           Q. Did you ever test the exact location
  20   on the same tile floor surface as Ms. Kessler;        20   where Ms. Grey fell?
  21   correct?                                              21           A. I'm unaware on the exact location
  22           A. Yes.                                       22   where she fell. My understanding, again, is that
  23           Q. What other incident are you relying        23   she fell on the same or the equivalent tile as the
  24   on?                                                   24   one where Ms. Kessler fell.
  25           A. Helen Grey.                                25           Q. I should say where Ms. Grey slipped.
                                                  138                                                     140
   1           Q. Okay.                                       1   I don't know if she fell or not.
   2           A. Patricia Urbina. It doesn't                 2           A. Thank you for that. Slipped.
   3   explicitly state it was the same floor, but deck       3           Q. But regardless, you never tested the
   4   15, all of it, as seen in the inspection, including    4   exact same location where Ms. Grey slipped;
   5   the area extending to the steam room also had          5   correct?
   6   shared the same tile surface.                          6           A. That's correct.
   7           Q. Ms. Urbina's incident happened by the       7           Q. And Ms. Grey was wearing flip-flops at
   8   steam room; correct?                                   8   the time of the incident?
   9           A. Right.                                      9           A. Pardon me?
  10           Q. That's not the same location where         10           Q. Ms. Grey was wearing flip-flops at the
  11   Ms. Kessler fell; correct?                            11   time of the incident?
  12                  MR. GERSON: Object to the form.        12                MR. GERSON: Object to the form.
  13                  THE WITNESS: That's correct. But it    13                THE WITNESS: I don't have the full
  14           shares the same type -- if I can answer --    14           details, but that's what's stated on the
  15   BY MR. GORDON:                                        15           supplementary answers.
  16           Q. Go ahead.                                  16   BY MR. GORDON:
  17           A. -- before you start nodding and            17           Q. Ms. Kessler was barefoot --
  18   answering to my question.                             18   correct? -- at the time of the incident?
  19                  I'm talking about the -- referring     19           A. Ms. Kessler was barefoot, yes.
  20   back to Section 4.2.13 fall incident. And I quote     20           Q. If we can actually go back -- I want
  21   from the report, "Fall incident that occurred on      21   to go back to page 16 of your report.
  22   equivalent spa floor surface type."                   22           A. Yes.
  23                  So I'm not at any point stating that   23           Q. Okay. You make reference to -- you
  24   it occurred at the same exact spot where              24   make reference on page 16 to high contrast caused
  25   Ms. Kessler fell. I'm talking about sharing the       25   between relatively dark and light spaces can lead
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                                                    141                                                  143
   1   to temporarily reduce visual capacity; correct?       1           A. Correct.
   2           A. Correct.                                   2           Q. And there's no testimony from
   3           Q. And then you say --                        3   Ms. Kessler that she had any problems observing
   4           A. This is 4.1.13, yes.                       4   anything in the spa at the time of the incident;
   5           Q. I think it's 4.1.3.                        5   correct?
   6           A. 3. Sorry.                                  6           A. The reference I'm alluding to, these
   7           Q. That's what you state; correct?            7   are high contrast, as you go into one area to
   8           A. That's correct.                            8   another, so you wouldn't consciously think about --
   9           Q. And then you say, "These conditions        9   like becoming blind so -- but in her statement
  10   were present when entering the spa corridor may      10   there's no -- I don't think she was asked about
  11   have resulted in increased difficulty by             11   that either.
  12   Ms. Kessler to discern wet areas and dry areas on    12           Q. Is there any reference in her
  13   the floor surface."                                  13   testimony that she couldn't observe anything in the
  14                Correct?                                14   spa?
  15           A. That's correct. That's what's stated      15           A. She was not asked anything to that
  16   on the report.                                       16   extent; so therefore there's no evidence to that
  17           Q. All right. First of all, let me ask       17   extent.
  18   you whether you did any sort of measurements         18           Q. Okay. Let me ask it this way.
  19   concerning the lighting in the Mandara Spa in the    19                Is there any evidence in this case
  20   area where Ms. Kessler fell.                         20   that Ms. Kessler had an issue with the lighting in
  21           A. I did not.                                21   the spa at the time right before her fall?
  22           Q. Okay. And you tested -- strike that.      22           A. Not to my knowledge.
  23                Your ship inspection occurred at        23           Q. All right. You make reference on
  24   9:00 a.m. to 10:30 a.m.; right?                      24   page 16 at 4.15 regarding there not being a
  25           A. That's correct.                           25   handrail in the entrance of the spa?
                                                    142                                                         144
   1           Q. Okay. And what were the weather            1           A. That's correct.
   2   conditions outside?                                   2           Q. Okay. And you cite an IMO circular --
   3           A. At the Port of Miami.                      3   correct? -- to support your opinion that you
   4           Q. Do you recall what the weather             4   believe there should have been a handrail?
   5   conditions were like?                                 5           A. To support that the recommendations
   6           A. I think I state that it was sunny and      6   provided by that circular document, circular 735,
   7   overall -- let me get back to the report.             7   that there should have -- the recommendation is to
   8                Relatively sunny, partially overcast.    8   provide handrails.
   9           Q. All right. And Ms. Kessler's               9           Q. You're relying on a circular; correct?
  10   incident, according to her, happened at              10           A. As stated on 4.15, yes.
  11   approximately 4:30 p.m.; correct?                    11           Q. You'll agree that the circulars put
  12           A. Correct. In another location that was     12   out by the IMO are nonbinding; correct?
  13   not Port of Miami.                                   13           A. Correct. It's a recommendation, as
  14           Q. Right.                                    14   also stated on the report.
  15                Where was the ship at the time of       15           Q. Okay. It's not binding; correct?
  16   Ms. Kessler's incident?                              16           A. It's a recommendation. It's not a
  17           A. I haven't reviewed the ship logs to       17   mandatory -- correct? -- as stated in the report.
  18   determine the location and orientation location of   18           Q. And you make reference about there not
  19   the ship.                                            19   being a handrail in the entrance of the spa
  20           Q. So you don't know.                        20   corridor. What's the definition of "corridor"?
  21           A. That's correct.                           21           A. As I define it in the report, it's --
  22           Q. So you don't know if the lighting         22   the spa entrance is essentially a corridor, a means
  23   conditions, as you saw them during your ship         23   of egress to -- a means of egress from one area to
  24   inspection, were the same as those at the time of    24   another that you transfer -- that you're transiting
  25   Ms. Kessler's incident; correct?                     25   would be classified as a "corridor."
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   1           Q. Is that defined specifically by the         1   recommendations and having seen similar corridors
   2   IMO in this circular?                                  2   in that same vessels and other vessels, that would
   3           A. The IMO only refers to corridors.           3   be correct. It would be a good recommendation to
   4           Q. Does it define what a corridor is?          4   put a handrail there throughout the entire length.
   5           A. Not on that circular, but other             5           Q. But it's not mandatory; correct?
   6   documents define what a corridor itself --             6           A. It's a recommendation, as it's stated
   7           Q. My question --                              7   in report, yes.
   8           A. -- would be.                                8           Q. But not the mandatory?
   9           Q. My question is specifically is whether      9           A. Correct.
  10   the IMO in the circular defines what a corridor is.   10                MR. GERSON: Object to the form.
  11           A. It just says to the word "corridor."       11                THE WITNESS: You do not need
  12           Q. Does it define it?                         12           handrails in any part of any corridor of
  13           A. It's defined as corridor. There's no       13           the vessel. But, in fact, they're placed
  14   definitions for anything else. It doesn't define a    14           because it's a best practice for safety to
  15   handrail either.                                      15           put them on vessels.
  16           Q. Okay. Is it your opinion that there        16   BY MR. GORDON:
  17   should have been a handrail -- sorry, hold on one     17           Q. Okay. So --
  18   second.                                               18           A. And therefore my recommendation would
  19                Is it your opinion that there should     19   have been that, as I've seen in other places, is to
  20   have been a handrail in the entire location where     20   have handrail the full length of that entrance
  21   Ms. Kessler walked into the thermal area of the       21   corridor to the spa.
  22   spa?                                                  22           Q. What other place?
  23           A. As seen in many other vessels that         23           A. What do you mean "what other place"?
  24   I've been on and different areas of that same         24           Q. You said "I've seen them in other
  25   vessel, corridors are installed with handrails        25   places." What other places are you referring to?
                                                      146                                                       148
   1   following the recommendations by the IMO circular.     1           A. The corridor leading prior to the spa
   2            So answering your question, yes. It's         2   has, for instance, handrails. Other spas that I've
   3   typically a best practice to install a handrail in     3   visited in vessels also have handrails in corridor
   4   that location.                                         4   entrances.
   5                That would be my opinion. I'm answer      5           Q. Which other spas?
   6   your question.                                         6           A. I've been on Disney -- I forget the
   7           Q. But is it your testimony or your            7   name. I've been on other; Norwegian, Carnival.
   8   opinion in this case that there should be a            8           Q. What ships?
   9   handrail in the entire area where people walk in       9           A. I can't recall at this time the
  10   that door through the area where Ms. Kessler fell?    10   different -- VALOR is, I think, a recent one that
  11           A. Again, you're asking my opinion. I'm       11   I --
  12   answering that based on the recommendations by the    12           Q. Carnival VALOR?
  13   International Maritime Organization, and in that      13           A. Yeah.
  14   circular, and having inspected other vessels,         14           Q. Okay. Any others?
  15   including this one, for instance, the corridor        15           A. I can't recall right now. I would
  16   leading out of the spa, that door that we talked      16   need to look at my case files.
  17   about before, has a handrail, and there's handrails   17                But answering your question, yes, it
  18   in other corridors.                                   18   is my recommendation that based on the guidelines
  19                So my opinion, based on best practices   19   and other areas in that ship, there should have
  20   and recommendations, is that there should have been   20   been a handrail for the entire length of that
  21   a handrail.                                           21   entrance corridor.
  22           Q. Okay. My question is whether you           22           Q. Even assuming there was a handrail
  23   think there should have been a handrail that went     23   where you believe there should have been one --
  24   the entire length of that passage way where --        24           A. It's a recommendation. You're taking
  25           A. I just said, based on the                  25   my words out of context.
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   1            Q. You didn't let me finish the question.     1            A. At different ships.
   2            A. I apologize.                               2            Q. Have you done it on the Norwegian
   3            Q. Even assuming that there was a             3   BREAKAWAY?
   4   handrail where you believe there should have been      4            A. No, not on the Norwegian BREAKAWAY.
   5   one, that doesn't mean that Ms. Kessler would have     5            Q. Specifically in the Mandara Spa of the
   6   held on to the handrail at the time of this            6   Norwegian BREAKAWAY?
   7   incident; correct?                                     7            A. I have not, no. There was no
   8            A. And the opposite could be true, that       8   handrail.
   9   it could have been that she could have held on.        9            Q. Well, did you even attempt to recreate
  10            Q. Right.                                    10   something similar to the handrail?
  11            A. I'm talking about the context. Again,     11            A. I would not. From an expert point of
  12   4.15. I'm not talking about Ms. Kessler. I'm not      12   view, that wouldn't make sense.
  13   inferring anything else. I'm just saying that that    13            Q. You didn't do anything like that, did
  14   circular recommends having handrails in corridor      14   you?
  15   and access areas. And this specific area where she    15            A. I did not, no.
  16   fell is considered corridor and entrance, means of    16            Q. Well, there's a handrail on the
  17   egress, and therefore the recommendation is that a    17   opposite side by the pool; correct?
  18   handrail should be installed.                         18            A. Yeah. That handrail was measured.
  19            Q. Okay. And even assuming there was a       19            Q. Did you do anything other than measure
  20   handrail there --                                     20   it?
  21            A. Yes.                                      21            A. No.
  22            Q. -- and even assuming Ms. Kessler          22            Q. Did you do any testing regarding
  23   grabbed on to the handrail --                         23   whether or not that handrail would have benefitted
  24            A. Yeah.                                     24   someone during a slip?
  25            Q. -- she still could have slipped;          25            A. Well, that handrail met the
                                                       150                                                      152
   1   correct?                                               1   requirements or recommendations -- in some cases
   2            A. That is a possibility. The important       2   requirements -- for the average height that it was
   3   things -- again, talking about expert and why          3   located at.
   4   handrails are provided -- is that they can             4            Q. Did you do any testing regarding
   5   mitigate, even reduce the, you know, damage that       5   whether it would have affected someone's ability
   6   you can cause to somebody when they slip.              6   or -- strike that.
   7                So even if she did slip, it might have    7                 Did you do any testing regarding
   8   not resulted in, you know, whatever injuries she       8   whether it would have made any difference if
   9   might have had. So there's many possibilities, but     9   someone was slipping?
  10   handrails are good things to have, as recommended     10            A. In what location?
  11   by the circular.                                      11            Q. By the hot tub.
  12            Q. What's the basis for you to say that      12            A. I'm -- okay.
  13   someone who falls using a handrail would not suffer   13                 MR. GERSON: There's no handrail there
  14   a more significant injury?                            14            to test.
  15            A. Well, Di Pilla, if you look at the        15                 MR. GORDON: Sure there is.
  16   practice handbook, states why handrails are           16                 MR. GERSON: Object to the form of the
  17   designed at the level and the way and the shape       17            question.
  18   that they are explicitly for that.                    18                 THE WITNESS: He's talking -- we're
  19                So there's a lot of -- again, it's       19            talking about the other handrail located on
  20   stated in the report -- on why we use handrails and   20            the other side of the entrance.
  21   how they help in slip, trip, and fall.                21                 MR. GERSON: Oh, okay. All right. I
  22            Q. Have you personally done any testing      22            stand corrected.
  23   with respect to handrails and slip resistance?        23                 THE WITNESS: So that handrail was
  24            A. Yes, I have.                              24            measured. So the testing is that if that
  25            Q. Where?                                    25            handrail meets the geometric requirements
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                                               153                                                      155
   1           for safety design.                           1           Q. I'm sorry. You said --
   2   BY MR. GORDON:                                       2           A. The drain trench that is located at
   3           Q. Other than measuring it, did you do       3   the bottom of the ramp leading to the hot tub. If
   4   any other sort of testing?                           4   you refer to Figure 12, it would be at location
   5           A. That was the evaluation that was done.    5   mark number 1.
   6   In this case, it was just the height at which it     6           Q. You said it was 1.2 gallons of water
   7   was located.                                         7   you put in the drain.
   8           Q. Other than that, did you do anything      8           A. About there.
   9   else with regard to the handrail?                    9           Q. Is there any evidence in this case
  10           A. No. That was the only thing. It was      10   that there was 1.2 gallons of water that was put
  11   measured, the height.                               11   into the drain right before Ms. Kessler's incident?
  12           Q. You make reference of 4.16 regarding     12           A. No. The intent of the test context is
  13   the drainage system --                              13   a matter of depositing a known quantity of water
  14           A. Okay.                                    14   and see how it flows and drains. And that was
  15           Q. -- correct?                              15   performed.
  16           A. Yes.                                     16           Q. Okay. Is there any evidence that that
  17           Q. You inspected the drains; correct?       17   amount of water is ever deposited in that drain?
  18           A. Uh-huh.                                  18           A. I wouldn't know. I'm not at the
  19           Q. In the Mandara Spa; yes?                 19   location on an ongoing basis to monitor that.
  20           A. Yes, I did.                              20           Q. So you don't know?
  21           Q. And you found it to be inadequate?       21           A. I don't know.
  22           A. What section are you referring to?       22           Q. And the drainage system that you
  23           Q. Page 16. I'm just trying to get into     23   inspected, you would agree that you cannot say with
  24   your opinions regarding the drainage. Okay?         24   certainty that it was in the same condition on the
  25           A. Understand.                              25   date of your inspection as it was on the date of
                                                    154                                                      156
   1           Q. You were out there, you were              1   Ms. Kessler's incident; correct?
   2   inspecting the drains; correct?                      2           A. That would be correct.
   3           A. Uh-huh.                                   3           Q. Did you do any testing using the Oasis
   4           Q. Yes?                                      4   On Force cleaner with respect to this specific tile
   5           A. Yes.                                      5   in the Mandara Spa?
   6           Q. Okay. And you were pouring water into     6           A. I did not.
   7   the drains; correct?                                 7           Q. On page 17 of your report at 4.19 --
   8           A. That's correct.                           8           A. Yes.
   9           Q. All right. How much water were you        9           Q. -- did you make reference regarding,
  10   pouring into the drains?                            10   "It was observed on the CCTV that numerous
  11           A. It was about a quarter of a bucket       11   occasions Crew Collantes is seen squeegeeing the
  12   that was 1.2 gallons.                               12   floor surface around the end of the spa corridor."
  13           Q. 1.2 gallons?                             13               Do you see where I'm reading from?
  14           A. Yes.                                     14           A. Yes.
  15           Q. And you poured that where? Which         15           Q. We've already talked about that --
  16   drain?                                              16   correct? -- regarding what that statement is based
  17           A. Directly over each of the drains         17   upon?
  18   identified in the report.                           18           A. Correct.
  19           Q. That would be the drain --               19           Q. If I'm wrong, let me know. I don't
  20           A. And the drain trench at the beginning    20   want to ask the same questions over again.
  21   of the drainage system.                             21           A. Please.
  22           Q. That would be the drain in front of      22           Q. That's based upon your review of --
  23   the hot tub?                                        23           A. The CCTV -- it was observed from the
  24           A. Correct. At the end of the ramp that     24   CCTV, as stated in 4.19.
  25   goes up to the hot tub.                             25           Q. Okay. That's what you talked about
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                                                   157                                                    159
   1   earlier regarding Mr. Tellez's deposition exhibit?     1            A. Yes.
   2           A. That's correct.                             2            Q. You're showing me, for the record,
   3           Q. Okay. At 4.1.11, you discuss an             3   Exhibit 5 for Mr. Collantes' deposition; correct?
   4   opinion regarding, "Based on the CCTV, it is           4            A. That's correct.
   5   evident that Mr. Collantes failed to implement         5            Q. And, first of all, that black arrow
   6   established procedures to dry the floor, using a       6   you see there, that was written by plaintiff's
   7   rag to wipe the floor after the squeegee was used."    7   attorney; correct?
   8               Do you see that?                           8            A. I think so. That's correct.
   9           A. Yes. That's correct. Stated as in           9            Q. Okay.
  10   the report.                                           10            A. Yeah.
  11           Q. Okay. Again, that's -- strike that.        11            Q. So what are you showing me?
  12               You have no experience as a               12            A. So as part of marking hazardous wet
  13   housekeeping person; correct?                         13   areas, typically you place the caution sign that
  14           A. As we established at the beginning of      14   might alert the issue of slipness at the location
  15   the depo, yes. Thank you.                             15   or the source of -- that you might have water
  16           Q. Specifically a housekeeping individual     16   accumulated. So.
  17   on a cruise ship; correct?                            17                What I'm stating there is that it
  18               MR. GERSON: Object to the form.           18   would be more appropriate to place that sign where
  19           Asked and answered.                           19   the water is being deposited by the squeegee.
  20               THE WITNESS: Other than just a lay        20            Q. We've already talked about this. You
  21           person in housekeeping activities that I      21   think that individual, Mr. Collantes, is pushing
  22           might do.                                     22   water; correct?
  23   BY MR. GORDON:                                        23            A. I'm assuming that, as he reported in
  24           Q. But you've never been employed as a        24   his depo, he's doing his job and squeegeeing the
  25   housekeeper on a cruise ship; correct?                25   wet floor.
                                                   158                                                           160
   1           A. We established that before.                 1            Q. Well, he testified it was dry. We've
   2               MR. GERSON: Objection. Asked and           2   already talked about it --
   3           answered.                                      3            A. Right. He also testifies that he was
   4   BY MR. GORDON:                                         4   squeegeeing when it's wet.
   5           Q. You say, "Moreover, the specific area       5            Q. His testimony is his testimony;
   6   next to the drainage trench was not adequately         6   agreed?
   7   marked as a hazard area where water accumulated."      7            A. I agree. He says it clearly on the
   8               Do you see that?                           8   testimony that he squeegees when the floor surface
   9           A. Yes.                                        9   is wet.
  10           Q. Where specifically are you                 10            Q. Regardless of what you believe his
  11   referencing?                                          11   testimony is or not, there is a warning -- strike
  12           A. Where the crew deposited or finished       12   that -- there is a caution sign in the area where
  13   squeegeeing.                                          13   Ms. Kessler was walking to or toward; correct?
  14           Q. Yes?                                       14            A. On the opposite side of the entrance
  15           A. Right.                                     15   corridor, yes.
  16           Q. You're saying there should have been a     16            Q. In fact, it's in the direction where
  17   what?                                                 17   she was walking; correct?
  18           A. With that specific area, it would be       18            A. On the other side of the corridor,
  19   good to have indicated as -- as the exact area that   19   yes, as seen in Exhibit 5.
  20   was wet.                                              20            Q. Yes. Exhibit 5 and 5A, you can see
  21           Q. Where the drain is?                        21   the same yellow floor caution sign in the area
  22           A. On that area, yes. If we have --           22   where Ms. Kessler fell; correct?
  23   maybe we can bring out Exhibit 5 from Collantes'      23            A. In Exhibit 5A that we currently have
  24   deposition.                                           24   marked; yes.
  25           Q. Do you have it in front you?               25            Q. Have you done any research regarding
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                                                     161                                                  163
   1   whether there may be too many warning signs --         1           Q. Go ahead.
   2           A. In what context?                            2           A. To my knowledge, that was the same
   3           Q. -- or caution signs?                        3   squeegee being used.
   4           A. In what context?                            4           Q. Based on what?
   5           Q. In the context of people will not look      5           A. Based on what I was told during the
   6   at them or give them any meaning or just ignore        6   inspection.
   7   them if there's 35 or 50 caution signs everywhere.     7           Q. Told by whom?
   8                MR. GERSON: Object to the form.           8           A. I asked, "Is this is the same squeegee
   9                THE WITNESS: Di Pilla does talk about     9   used?"
  10           the effectiveness of placement and geometry   10           Q. That's not true, sir.
  11           and size and contrast of the use of           11           A. It might have been informally asked.
  12           cautionary signs.                             12   So other than that --
  13   BY MR. GORDON:                                        13                MR. GERSON: Object to the form. Move
  14           Q. Okay.                                      14           to strike Counsel's comment.
  15           A. What I'm stating in the report, again,     15                The witness has answered the question
  16   just to be clear in context and making sure that      16           that you, Mike Gordon, told him it was the
  17   you are inferring correctly what is written in the    17           same one. You can testify at some other
  18   report, is not adding additional caution signs but    18           time.
  19   the placement of the caution sign.                    19                MR. GORDON: I'm not testifying. His
  20                MR. GORDON: Can you read back the        20           opinions are going to be subject
  21           last answer?                                  21           to Daubert.
  22                (Thereupon, the answer was read          22   BY MR. GORDON:
  23           back by the reporter as above recorded.)      23           Q. I want to know if you can tell me for
  24   BY MR. GORDON:                                        24   a fact whether the squeegee you inspected was the
  25           Q. You also make reference on page 17 of      25   same as the one used by Mr. Collantes on the date
                                                     162                                                       164
   1   your report at 4.1.12 that the inspected squeegee      1   of incident involving Ms. Kessler.
   2   had a significant level of wear and accumulation of    2                MR. GERSON: Objection. Asked and
   3   contaminant matter, as observed in Figure 8;           3           answered.
   4   correct?                                               4                THE WITNESS: That's what I was told,
   5           A. Correct.                                    5           that it was the same one.
   6           Q. The squeegee that you observed on           6   BY MR. GORDON:
   7   August 25, 2019, you don't know if that's the same     7           Q. You were provided with an exemplar
   8   exact squeegee Mr. Collantes was using on the date     8   squeegee, sir; correct?
   9   of Ms. Kessler's incident; correct?                    9                MR. GERSON: Object to the form.
  10           A. During the inspection, it was my           10   BY MR. GORDON:
  11   understanding that that's the one that was used.      11           Q. Not the same exact squeegee.
  12           Q. Based on what?                             12           A. I was provided with a squeegee at the
  13           A. Or similar.                                13   time of the incident, yes, that I understood was
  14                Based on what I asked at the time. I     14   the same one at the time of the incident.
  15   think you were there. I said, "Is this the same       15           Q. Okay.
  16   squeegee?"                                            16           A. The one used in the spa area.
  17           Q. My question is, you don't know whether     17           Q. All right. You would agree that --
  18   or not that the squeegee you inspected during your    18   strike that.
  19   inspection was the same exact squeegee that           19                Even assuming if it was the same exact
  20   Mr. Collantes used on the date of Ms. Kessler's       20   squeegee --
  21   incident; correct?                                    21           A. Yes.
  22                MR. GERSON: Objection. Asked and         22           Q. -- that Mr. Collantes was using on the
  23           answered.                                     23   date of the incident --
  24                MR. GORDON: No, it's not.                24           A. Yes.
  25   BY MR. GORDON:                                        25           Q. -- you would agree that you don't know
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                                                     165                                                    167
   1   if it was in the same exact condition on the date       1           A. I have not, no.
   2   of your inspection as it was on the date of             2           Q. And you knew the type of tile that
   3   Ms. Kessler's incident; correct?                        3   there was on the spa; correct?
   4            A. Assuming it's been used since the date      4           A. I beg your pardon?
   5   of the incident, then obviously it would not be in      5           Q. You knew the type of tile that was in
   6   the same condition.                                     6   the spa?
   7            Q. Okay. And you never tested -- or            7           A. That's correct, yes.
   8   strike that.                                            8           Q. You could have obtained the tiles
   9                 You never used or applied the squeegee    9   yourself; correct?
  10   to squeeze water on the floor; is that accurate?       10           A. I could have contacted the
  11            A. I was prohibited from doing that.          11   manufacturer, yes.
  12   Remember, you mentioned, you cannot use the            12           Q. Okay. You've read the testimony from
  13   squeegee at the time of the incident.                  13   the crew members, Mr. Naik, Mr. Collantes and
  14            Q. All right. Did you ever ask or go to       14   Ms. Lenoso, that the tile floor dries quickly
  15   court to do that?                                      15   because it's a heated area; correct?
  16            A. It was during the inspection. I was        16           A. That's correct.
  17   handed this and I was told I could not use it by       17           Q. Did you do any sort of testing at all
  18   yourself, that I could only see it. So I did not       18   concerning how fast the floor would dry in those
  19   use it.                                                19   same conditions as existed at the time of
  20            Q. Okay. You have opinions in your            20   Ms. Kessler's incident?
  21   report about it, do you not?                           21           A. During the testing and during the time
  22            A. Based on the visual inspection, but        22   that the water was deposited and drained out, you
  23   not based on its performance, as it's stated in the    23   could see that still part of the water remained
  24   report.                                                24   even after 20 minutes before we finished the
  25            Q. Okay. So you never tested a squeegee       25   testing.
                                                      166                                                         168
   1   on the same surface as the Mandara Spa; correct?        1           Q. First of all, you were dumping buckets
   2          A. I was prohibited from doing that; so          2   of water on the floor; correct?
   3   therefore I was not able to test -- to apply the        3                MR. GERSON: Object to the form.
   4   squeegee on the surface to test its performance. I      4                THE WITNESS: So we'll step back. The
   5   was only able to visually inspect it, as is stated      5           buckets of water were not being dumped on
   6   on the report.                                          6           the floor. They were being dumped on the
   7          Q. Did you ever test a squeegee outside          7           drains.
   8   the ship on any type of surface?                        8                The tests that I'm alluding for are
   9          A. I have not.                                   9           referenced in Figure 12 for the water that
  10          Q. Anything stop you from doing that?           10           was deposited during the English XL tests
  11          A. I have not.                                  11           and seeing that water drain back.
  12          Q. Has anything prevented you from              12   BY MR. GORDON:
  13   purchasing a similar squeegee or the same squeegee     13           Q. Sir, I'm going to show you what was
  14   and performing testing on your own outside the         14   marked as Exhibit 1 to Mr. Naik's deposition on
  15   context of the ship?                                   15   September 5, 2019 -- sorry, on September 15, 2019.
  16                MR. GERSON: Object to the form.           16   That's you in the picture; right?
  17                THE WITNESS: Even if I knew the exact     17           A. That is me in the picture. This is
  18          manufacturer that did it, you know, the         18   Exhibit 1 on Naik's.
  19          context matters, and ideally you would want     19           Q. There is a bucket of water on the
  20          to use it on the one that is used in the        20   floor next to you; right?
  21          facilities. So it was not performed, given      21           A. There is a gray bucket located, yes.
  22          that it would not be valuable information.      22           Q. You dumped a bucket of water or
  23   BY MR. GORDON:                                         23   portion of the bucket of water on the floor, did
  24          Q. Okay. So you didn't do any testing on        24   you not?
  25   your own?                                              25           A. This was outside the steam room in
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                                                     169                                                         171
   1   order to determine slope and drainage as part of        1                I'm trying to open an exhibit from
   2   the -- what was reported in the report.                 2   Collantes' deposition to answer the counsel's
   3             Q. So you did dump buckets of water on        3   question. This would be Exhibit 3 of Collantes.
   4   the floor when you were out there; correct?             4   C-O-L-L-A-N-T-E-S.
   5             A. Yes. I stated that from the                5           Q. Okay. What are you showing me?
   6   beginning.                                              6           A. So this is Exhibit 3.
   7             Q. Okay. You just stated you didn't.          7           Q. Yes, sir.
   8             A. No. Okay. Can you rephrase this --         8           A. Which shows a picture of the
   9   can you repeat this question again? On the water,       9   surveillance report. You can also see the contrast
  10   please? On the dumping buckets of water and my         10   surface with water around.
  11   answer. And the previous before that. Because we       11                Now, if you were to ask me, is the
  12   were talking about if I did any tests on the -- how    12   same level of the amount of water volume of water
  13   that surface performed.                                13   deposited there, I cannot answer that, but I can
  14                  "Question: Did you do any sort of       14   see and infer from the picture that there was
  15   testing at all concerning how fast the flow would      15   significant amounts of water in the area throughout
  16   have dry away those same conditions how existed."      16   the spa when it was being used.
  17                  Right? You're not asking about          17           Q. Mr. Collantes, along with the other
  18   buckets of water.                                      18   crew members, stated that was a shadow, not water;
  19                  My answer is "During the testing and    19   correct?
  20   during the time that the water was deposited,          20           A. That's part of what they were saying.
  21   drains out, you can see part of the water remained     21   But that would not correspond to other -- having
  22   even after 20 minutes before we finished the           22   been there and looking at that contrast of the
  23   testing."                                              23   inspection.
  24                  MR. GERSON: For the record, there's     24           Q. That's what their testimony was;
  25             Realtime transcript here on an iPad in       25   right?
                                                     170                                                         172
   1             front me, and the witness was reading from    1           A. I understand.
   2             the iPad testimony.                           2           Q. You're discounting their testimony and
   3                  THE WITNESS: You're not asking me if     3   just assuming there's water there; correct?
   4             I dumped buckets of water.                    4           A. I'm just inferring from the inspection
   5                  MR. GERSON: Let him ask another          5   and what I saw and comparing it to the pictures I
   6             question. The record speaks for itself.       6   took from the inspection having deposited water.
   7                  MR. GORDON: I'll ask it again. I'm       7           Q. So you're now doing some sort of
   8             not trying to make it difficult.              8   analysis of photographs?
   9   BY MR. GORDON:                                          9           A. So the question is "Was that volume of
  10             Q. Looking at Exhibit 1 to Mr. Collantes'    10   water deposited there?" I'm not able to answer
  11   deposition, you did dump a bucket of water on the      11   that question. I don't know.
  12   floor; correct?                                        12           Q. Okay. And getting back to my original
  13             A. I dumped several buckets of water in      13   question, the area where Ms. Kessler fell, did you
  14   order to test the drainage capabilities of the spa     14   do any testing to see how quickly it would dry up
  15   facility.                                              15   in the same conditions as it existed at the time of
  16             Q. Is there any evidence in this case        16   her incident?
  17   that there was that amount of water on the floor       17           A. Since we don't know the same
  18   anywhere in the spa at the time of Ms. Kessler's       18   conditions at the time of the incident, I was not
  19   incident?                                              19   able to reproduce that. But what I did do, that is
  20                  MR. GERSON: Object to the form.         20   stated also on Figure 12, is that the water that
  21   BY MR. GORDON:                                         21   was deposited as part of the surface evaluation,
  22             Q. As depicted to Exhibit 1 to Mr. Naik's    22   the period of time that occurred, you can see how
  23   deposition?                                            23   the water is still there, and it did not evaporate.
  24             A. Maybe I'd like to pull out exhibit --     24   That, together with the known temperature of the
  25   Mr. Collantes -- this one.                             25   surface, if needed, additional analysis could be
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                                                173                                                            175
   1   done to determine evaporation rates.                   1           A. You asked me how do I know that heated
   2           Q. You didn't do that.                         2   floors, because heating floors operate around that
   3           A. I didn't do it, no.                         3   temperature.
   4           Q. What you just described about               4           Q. Do you know if the heat was on in the
   5   evaporation rates, you were doing it at a different    5   spa, or do you know if it was the sun blaring
   6   temperature than how it existed at the time of         6   through the glass?
   7   Ms. Kessler's incident; true?                          7           A. Right. The sun was not hitting that
   8           A. As we said several times today, that's      8   location. It was further in. The air temperature
   9   correct. We don't know the exact conditions. And       9   condition throughout an hour and a half of the
  10   the conditions within the report are limited to       10   inspection was 77. That means it's cooler than
  11   those during the inspection.                          11   what was measured on the floor.
  12           Q. You've reviewed the testimony of the       12                So do I know if it was on? No, I
  13   crew members, and they each testified that the        13   don't know if it was on. But what I know is that
  14   floor would dry quickly because of the heat of the    14   the temperature of the floor was an average of
  15   spa; correct?                                         15   81 Fahrenheit.
  16           A. After it's been squeegee yes.              16           Q. You don't know if it was the same
  17           Q. You didn't do that or test that --         17   temperature at the time of the incident we were
  18                MR. GERSON: Object to the form of the    18   discussing?
  19           last question.                                19           A. Right.
  20                THE WITNESS: I was not able to use       20           Q. You can't rule out that what
  21           the squeegee, correct, so I wasn't able to    21   Ms. Kessler allegedly slipped on was just
  22           test that.                                    22   perspiration under her foot, can you?
  23   BY MR. GORDON:                                        23           A. I would not be able to rule that out,
  24           Q. Okay. But even if you did use a            24   no.
  25   squeegee, you still couldn't test anything because    25           Q. You make reference on page 17 at
                                                    174                                                        176
   1   it wasn't the same temperature as it was at the        1   4.1.14 regarding, "Those in control of the
   2   time of Ms. Kessler's incident; correct?               2   maintenance of the spa facility failed to properly
   3                MR. GERSON: Object to the form.           3   train and insure adequate known floor drying
   4                THE WITNESS: Again, we don't know         4   procedures by crew."
   5           what the temperature was at the time of her    5                I won't read the rest --
   6           incident, but we can compare.                  6           A. Yes.
   7   BY MR. GORDON:                                         7           Q. -- but again, you've never been in a
   8           Q. Well, it wasn't the same as when you        8   position to train or monitor or supervise any sort
   9   were out there; correct?                               9   of housekeeping personnel on the cruise ship;
  10           A. We don't know what the temperature         10   correct?
  11   was, right.                                           11                MR. GERSON: Object to the form.
  12           Q. Of when?                                   12           Asked and answered.
  13           A. Of the floor surface during                13                THE WITNESS: Correct. I'm making
  14   Ms. Kessler's incident.                               14           those assumptions based on the roles and
  15           Q. Correct.                                   15           responsibility of those crew member
  16                If it was a heated spa, more likely      16           positions, as well as the policies
  17   than not it would have been a different temperature   17           described during the depositions on how
  18   than when you inspected it; correct?                  18           they should -- what is the policy to clean
  19           A. Actually, at 81 Fahrenheit, that's of      19           and dry the floors, and the policies did
  20   the floor surface, if I remember correctly on         20           not match with what was observed in the
  21   average, inspected, it's already heated.              21           CCTV; therefore, the statement made.
  22           Q. How do you know?                           22   BY MR. GORDON:
  23           A. Because heated floor surfaces operate      23           Q. The what? Four minutes of CCTV that
  24   around that temperature.                              24   you reviewed?
  25           Q. What's the basis for that statement?       25           A. Whatever amount that was reviewed,
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                                               177                                                               179
   1   yes.                                                   1           Q. First of all, that drain is not in the
   2           Q. You talk about on the bottom of             2   area that Ms. Kessler fell; correct?
   3   page 17 at 4.1.15, "It is also unknown if those in     3           A. That would be correct.
   4   control of the maintenance of the spa had processes    4           Q. Okay. So how much water did you put
   5   and or policies," I'm sorry," and/or policies on       5   down that specific drain at location 4?
   6   maintaining and replacing the squeegee."               6           A. Again, about a gallon, gallon and a
   7           A. Correct. I did not see on those             7   quarter.
   8   manuals that were referenced or statements if they     8           Q. A gallon and a quarter?
   9   controlled the squeegee. Only the use of the           9           A. Deposited in order to determine how
  10   squeegee and the process of using it with a towel.    10   much -- if it drains or not. This was done in all
  11           Q. So you don't know one way or the other     11   the drains at the drain inlets or outlets,
  12   what the policy is regarding maintenance and/or       12   depending which way you're seeing it. And that was
  13   replacing the squeegees that they use; correct?       13   not draining.
  14           A. It is unknown, yes.                        14                In fact, the picture shows how before
  15                 (Thereupon, a brief recess was          15   testing it there was already stagnant water in the
  16           taken @ 4:00 p.m.)                            16   drain.
  17                 (Proceedings were resumed @             17           Q. Was it not draining at all or just
  18           4:06 p.m.)                                    18   draining slowly?
  19   BY MR. GORDON:                                        19           A. It was not -- okay. When we define
  20           Q. Just so I understand what your opinion     20   drainage, then it's not draining. It's not doing
  21   is regarding the drain -- the drainage, can you       21   its function.
  22   just clarify for me.                                  22                Did it eventually drain? Yes. It
  23           A. The drainage?                              23   obviously is not -- it's clogged.
  24           Q. Yeah.                                      24           Q. How long did it take for that drain to
  25                 You have opinions regarding drainage;   25   drain that 1.2 gallons of water?
                                                    178                                                          180
   1   correct?                                               1           A. In fact, the water -- most of the
   2           A. Correct.                                    2   water flooded and spilled around the area and then
   3           Q. I want to make sure I understand what       3   probably took over two minutes in order for the --
   4   your opinion is.                                       4   or more -- again, I can't -- for the flooded area
   5           A. So the drainage was found to be able        5   to start to sink in and drive away. But in terms
   6   to drain the water when it was deposited with the      6   of performance of the drainage, it's considered
   7   bucket, as stated, in exact 4, location 4, where       7   clogged. It's not draining.
   8   the drainage was clogged and did not work.             8           Q. All right. You don't know if that
   9           Q. One second. Where is location 4?            9   drain, as you tested it on that day, was in the
  10           A. Drainage 4 is section 3.1.11, the          10   same condition as it was on the date of
  11   bottom of page 7, located at the top of the pool      11   Ms. Kessler's incident; correct?
  12   access ramp area. Provided in Figure 7.               12           A. Correct. I don't know.
  13           Q. All right. I'm sorry. Looking at           13           Q. Other than that drain -- strike that.
  14   page 11. It's where?                                  14                Were there any other drains other than
  15           A. Yeah. Let me scroll down. It would         15   that one at location 4 that did not properly drain?
  16   be Figure 7.                                          16           A. So the drains did -- the other drains
  17           Q. Correct.                                   17   did drain at each outlet where the water was
  18           A. Top right the corner. It says 444 on       18   deposited. But when looking at the trench drain,
  19   there.                                                19   in other words, when the water was deposited by
  20           Q. All right.                                 20   number 1, the flow of water was seen to go and
  21           A. Yes. Right there.                          21   bypass the drain located at the corner due to the,
  22           Q. Upper right picture?                       22   I guess, lack of grinding around the area.
  23           A. Right next to the number 4; correct.       23           Q. I'm sorry. Which photograph? Can you
  24           Q. And your opinion is that drain what?       24   point to me in your report?
  25           A. Was not draining.                          25           A. Yeah. Let me scroll to the -- so this
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                                                      181                                                          183
   1   would be drain number 2, drain outlet number 2.        1                If you have a drain, the drain needs
   2           Q. Is there a page on your report that         2   to meet performance and they need to be able to
   3   you can --                                             3   drain water. That's what was trying to be
   4           A. Yeah. Figure 5 on page 10.                  4   evaluated.
   5           Q. Figure 5 on page 10. Which specific         5           Q. Right.
   6   number on the yellow markers on the floor?             6                But, first of all, you don't know if
   7           A. Number 2. Most of the water was seen        7   the drain at location 1, 2, and 3 were in the same
   8   to bypass, in other words, flow around the drain,      8   condition on the day of the incident involving
   9   since the outlet of the drain was slightly             9   Ms. Kessler as on the day of your inspection;
  10   elevated.                                             10   correct?
  11           Q. So how much water did you put at that      11           A. That's correct.
  12   drain at number 2?                                    12           Q. Okay. Hypothetically, if you're going
  13           A. So it was two types of evaluations         13   to push a little bit or a speck a water into that
  14   made. Number 1 was when water was placed directly     14   drain, that's not going to cause some sort of
  15   on the drain; and number 2, when water was placed     15   drainage problem, is it?
  16   at location number 1, which is the beginning of the   16           A. When looking, for instance, at Figure
  17   trench location, that should flow down to location    17   6, which shows the plan view of drain number 2 and
  18   2 and location 3 and ongoing on that trench.          18   drain number 3, when you talk about problems of
  19                So when water was placed on              19   drainage, regardless of the amount of water, you
  20   location 1, it was observed to mostly bypass drain    20   can see the accumulation on the drain wall of
  21   number 2 because that drain was slightly elevated     21   number 3 compared to number 2 that is significantly
  22   at the surface of the water. So that would not be     22   more.
  23   ideal, since it's not performing its duties as a      23                That is evidence that shows that drain
  24   drain. It's not flush with the drainage floor         24   two drains less water than drain three due to the
  25   surface.                                              25   accumulation. And that's what was being tested.
                                                182                                                          184
   1           Q. Let me just back up.                        1            Q. Right.
   2                How much water did you put into the       2                 But if you're only going to, let's
   3   drain, which is marked number 1 on page 10?            3   say, hypothetically squeegee in the amount of water
   4           A. Right. The beginning of the drain           4   the size of your thumbnail --
   5   trench, about a gallon, gallon and a quarter.          5            A. Yes.
   6           Q. Okay. There's no evidence that that         6            Q. -- is that going to have any affect,
   7   much water was put into that drain right before        7   even assuming the drains were in the condition as
   8   Ms. Kessler's incident; correct?                       8   you saw them on date of your inspection?
   9           A. Correct. The purpose of applying a          9                 MR. GERSON: Object to the form.
  10   quantity of water is to see the flow of water. If     10                 THE WITNESS: Again, the evaluation is
  11   you were to place less water, you might not be able   11            not about the volume of water; it's about
  12   to see how the water flows directly. So you want      12            the performance of the drain.
  13   to see the performance.                               13   BY MR. GORDON:
  14                This, in a sense, is a conservative      14            Q. I understand.
  15   approach, because if you have more water, you have    15            A. Okay.
  16   more water flow, and it's easier for it to drain.     16            Q. But --
  17   So it's a best-case scenario from a drainage point    17            A. So if you have a speck of water with a
  18   of view.                                              18   thumb, that speck of water probably would go around
  19           Q. Well, if there's not much water being      19   drain two and end up in drain three or further
  20   pushed into the drain, there's not going to a         20   down. That's what was trying to be evaluated. It
  21   drainage problem, is there?                           21   is the flow of water from the initial part of the
  22           A. There's obviously drains there. And        22   trench drain to its outlet and how that flowed.
  23   the drains are used to drain water. So I'm sure       23            Q. What are your rates which you were
  24   that part of the design of the spa is envisioned      24   charging for your services in this case?
  25   that those drains need to perform.                    25            A. Let me get the invoice.
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                                                           185                                                           187
   1            Q.   Is this it?                                  1           A.   Okay.
   2            A.   Yes. That is correct.                        2           Q.   Just to be clear, the CCTV that you
   3                 (Exhibit 9 was marked for                    3   reviewed, do you have that at your office?
   4            identification purposes.)                         4           A.   It was given to me in a pen drive.
   5   BY MR. GORDON:                                             5           Q.   Do you have it?
   6            Q.   We will have that marked Exhibit 9.          6           A.   I think it's connected on the desktop,
   7            Are those your complete invoices in               7   the full pen drive.
   8   this case?                                                 8                Yeah. I don't have that pen drive
   9            A.   They're the same. This is the last           9   with me.
  10   invoice. This is the copy of the same document.           10           Q.   Do you have it at your office?
  11            Q.   How much have you charged the               11           A.   Yeah. On my desktop.
  12   plaintiff's attorneys in the case?                        12           Q.   Can you make arrangements to make a
  13            A.   $3,190.10.                                  13   copy of that and send it to Mr. Gerson and we'll
  14            Q.   Is this current to today?                   14   have it marked as an exhibit?
  15            A.   To the best of my knowledge, yes.           15           A.   Sure. It has several files. I'll
  16            Q.   What are your hourly rates for              16   send that as -- I'll send the files. We can mark
  17   performing expert work?                                   17   this as Exhibit 11.
  18            A.   165 per hour.                               18                (Exhibit 11 was marked for
  19            Q.   And is that for review of materials         19           identification purposes.)
  20   and testimony?                                            20                MR. GERSON: You send everything to
  21            A.   No. It's different to testimony.            21           me, then I send it to counsel or the
  22            Q.   What's the difference?                      22           reporter.
  23            A.   I think it's 250 for testimony.             23                MR. GORDON: You can send to the
  24            Q.   Per hour?                                   24           reporter. That's fine.
  25            A.   Yes. Correct.                               25                MR. GERSON: Any more questions?
                                                           186                                                           188
   1            Q.   What about trial testimony?                  1                MR. GORDON: Yeah. Just checking my
   2            A.   Same.                                        2           notes, wrapping it up.
   3                 Yeah. 250. Just pulling my fee               3                (Exhibit 12 was marked for
   4   sheet.                                                     4           identification purposes.)
   5            Q.   You mentioned you had notes that you         5                MR. GORDON: So we will mark that
   6   wrote down. I don't see them in the stack of               6           Exhibit 1 to Mr. Naik's deposition as
   7   materials that we printed off the link.                    7           Exhibit 12 to this deposition.
   8            A.   No? It would have been like a blank          8                (Pause.)
   9   page.                                                      9                MR. GERSON: Come on, Mike. We been
  10            Q.   A blank page?                               10           sitting here.
  11            A.   Like a white page.                          11                MR. GORDON: You can't give me two
  12            Q.   Do you have it in your computer?            12           minutes to check my notes?
  13            A.   It might not have synced from my            13                MR. GERSON: I've given you more than
  14   desktop.                                                  14           two minutes.
  15            Q.   Can you access it or not?                   15                MR. GORDON: Come on. This is my
  16            A.   No. It's not there.                         16           chance.
  17            Q.   It means you have it accessible at          17                That's all I have.
  18   home or at your office?                                   18                MR. GERSON: No cross. The witness
  19            A.   In the, yeah, the desktop computer.         19           will read.
  20            Q.   Can you send it to the plaintiff's          20                If it's ordered, I would like an
  21   attorney so they can send it to us?                       21           E-tran only. Thank you.
  22                 (Exhibit 10 was marked for                  22                THE COURT REPORTER: Are you ordering?
  23            identification purposes.)                        23                MR. GORDON: I'd like it expedited.
  24   BY MR. GORDON:                                            24                (Deposition concluded @ 4:35 p.m.
  25            Q.   We'll mark that as 10 once we get it.       25           reading and signing were not waived.)
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  1                                                              1                REPORTER'S DEPOSITION CERTIFICATE

  2                                                              2

  3                                                              3   STATE OF FLORIDA                )

  4                                                              4   COUNTY OF MIAMI-DADE)

  5                                                              5
                                                                 6             I, RHONDA BONNER, Registered Professional
  6
                                                                 7   Reporter, Florida Professional Reporter, certify
  7
                                                                 8   that I was authorized to and did stenographically
  8
                                                                 9   report the deposition of FRANCISCO DE CASO, PH.D.;
  9
                                                                10   that a review of the transcript was requested; and
  10
                                                                11   that the foregoing transcript, pages 1 through 190,
  11
                                                                12   is a true and complete record of my stenographic
  12
                                                                13   notes.
  13
                                                                14             I further certify that I am not a
  14
                                                                15   relative, employee, attorney, or counsel of any of
  15
                                                                16   the parties, nor am I a relative or employee of any
  16
                                                                17   of the parties' attorney or counsel connected with
  17
                                                                18   the action, nor am I financially interested in the
  18
                                                                19   action.
  19                                                            20             Dated this 5th day of November, 2019.
  20                                                            21
  21                                                            22                    ___________________________
  22                                                            23                    RHONDA BONNER
  23                                                                                  REGISTERED PROFESSIONAL REPORTER
  24                                                            24                    FLORIDA PROFESSIONAL REPORTER
  25                                                            25
                                                                                                                           192
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                                                                 1                        JEANNIE REPORTING
  1                      CERTIFICATE OF OATH                                            28 West Flagler Street
                                                                 2                            Suite 610
  2                                                                                      Miami, Florida 33130
  3    STATE OF FLORIDA            )                             3
                                                                 4
  4    COUNTY OF MIAMI-DADE            )                                                    November 1, 2019
                                                                 5
  5
  6           I, Rhonda Bonner, Registered Professional          6     FRANCISCO DE CASO, PH.D.
                                                                     c/o
  7    Reporter, Florida Professional Reporter, Notary           7       NICHOLAS I. GERSON
                                                                         GERSON & SCHWARTZ, P. A.
  8    Public, State of Florida, certify that                    8       1980 CORAL WAY
  9    FRANCISCO DE CASO, PH.D. personally appeared before               MIAMI, FLORIDA 33145
                                                                 9
  10   me on November 1, 2019, and was duly sworn.                   IN RE: CHRISTINE KESSLER, a resident of the State
  11          WITNESS my hand and official seal this            10   of Pennsylvania v. NCL (BAHAMAS) LTD, a Bermuda
                                                                     company d/b/a NORWEGIAN CRUISE LINE
  12   5th day of November, 2019.                               11
                                                                           With reference to the examination of
  13                                                            12   YOURSELF, deponent in the above-styled cause, taken
  14                 _______________________                         on November 1, 2019, under oath, please be advised
                                                                13   that the transcript of the Deposition has been
  15                 RHONDA BONNER                                   transcribed and is awaiting your signature.
                                                                14
                     REGISTERED PROFESSIONAL REPORTER                     Please arrange to conclude this matter at
  16                 NOTARY PUBLIC - STATE OF FLORIDA           15   your earliest convenience. We would suggest that
                                                                     you telephone this office and arrange an
                     MY COMMISSION #DD806306                    16   appointment suitable for all concerned.
  17                 MY COMMISSION EXPIRES 10-15-20
                                                                17         However, if this has not been taken care of
                                                                     by the date of the governing rules related to this
                                                                18   matter, we shall conclude the reading and signing
  18                                                                 of said deposition has been waived and shall then
                                                                19   proceed to file the original of the said transcript
                                                                     with the party who took the deposition without
  19                                                            20   further notice to any parties.
  20                                                            21                      Sincerely,
  21
                                                                22
  22                                                                                    _________________________
                                                                23                      Rhonda Bonner
  23
  24                                                            24   via email:
                                                                     ngerson@gslawusa.com
  25                                                            25   mgordon@fflegal.com
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   1                       ERRATA SHEET

   2   F.R.C.P. RULE 1.310 PROVIDES IN PART:
         (e)"...Any changes in form or substance that the
   3   witness wants to make shall be entered upon a
       separate correction page by the officer with a
   4   statement of the reasons given by the witness for
       making them..."
   5

   6   PAGE/LINE         CHANGE/CORRECTION              REASON

   7   ___________________________________________________
   8   ___________________________________________________
   9   ___________________________________________________
  10   ___________________________________________________
  11   ___________________________________________________
  12   ___________________________________________________
  13   ___________________________________________________
  14   ___________________________________________________
  15   ___________________________________________________
  16   ___________________________________________________
  17   ___________________________________________________
  18
  19   I, ___________________, do hereby certify that I
  20   have read the foregoing transcript of my
  21   deposition, given on November 1, 2019, and that
  22   together with any additions or corrections made
  23   herein, it is true and correct.
  24                     ___________________________
  25                    FRANCISCO DE CASO, PH.D.
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